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17 RESORT GROUP, MANDALAY BAY, LLC, MGM RESORTS FESTIVAL
   GROUNDS, LLC, and MGM RESORTS VENUE MANAGEMENT, LLC
18
19                                UNITED STATES DISTRICT COURT

20                                     DISTRICT OF NEVADA

21
22 MGM RESORTS INTERNATIONAL,                         Case No. 2:18-cv-01288-APG-PAL
   MANDALAY RESORT GROUP, MANDALAY
23 BAY, LLC f/k/a MANDALAY CORP., MGM                 FIRST AMENDED COMPLAINT
   RESORTS FESTIVAL GROUNDS, LLC, MGM                 FOR DECLARATORY RELIEF
24 RESORTS VENUE MANAGEMENT, LLC
25                  Plaintiffs,

26            vs.

27 CARLOS ACOSTA; EMMANUEL AFFRAN;
   GREG AGUAYO; LILLIAN AGUIRRE;
28 DIONNDRA ALEXANDER; LESLIE
     39268621.2
                                   COMPLAINT FOR DECLARATORY RELIEF
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1 ALWORTH; ENRIQUE ARGUETA; SHANE
     ARMSTRONG; IMARI AUSBIE; TINA
2    MARIE AVERY; JEFFREY BACHMAN;
     JOSEPH I. BALAS; BREANNA GRACE
3    FRANCL BALDRIDGE; MALINDA
     BALDRIDGE; COLE BALDWIN; PAUL
4    BALFOUR; ALICIA BEATTY; ELIZABETH
     BEATTY; MATTHEW BEATTY; BRANDY
5    BEAVER; BRANDON CHARLES BECKETT;
     TINA BEDARTES; CHICO BELSER; CHRISTI
6    BERAN; KAREN BERNEY; JENNIFER L.
     BITHELL; RUSSELL BLECK; AARON
7    BOUPHAPRASEUTH; JOSHUA BRADY;
     CHANDRA BRIDGES; CRAIG ALAN
8    BROCKETT; DEBBIE BROCKETT; KALI
     BROCKETT; LEXIA BROCKETT; CAITLIN
9    BRUNNER; ANDRE BRYANT; JORI
     BUCKLAND; TIFFANIE BUEHLER;
10   ANTHONY BURNS; ANDRETTI CAGE;
     KIMBERLY CALDERON; EARLLITRA
11   DANIELLE CARTER; ATHENA CASTILLA;
     SHAYLA CATALDO; TEQUELA CHAPPELL;
12   SAVANNA CHASCO; DANNY CLUFF; GREG
     CLUFF; CODY COFFER; MARKIE COFFER;
13   CONNIE D. COLEMAN; KIMBERLY
     COLLINS; SUE ANN CORNWELL; DANIEL
14   CORTES; BRETT COSSAIRT; MANDI
     CROWDER; CHANELL CUELLAR; JUAN
15   CUELLAR; RAINNA RUSK DAVIS;
     WHITNEY DAY; JOHN DEANE; RACHEL
16   DELAPAZ; HANNAH DOMINGUEZ;
     JOMONT DOTTON; SANDRA DOUGLAS;
17   MICHAEL DYER; HUGH JOSEPH DYER III;
     SONYA ESTERS; EMILY EVANS;
18   MICHELLE EVANS; KRISTINA FALCO;
     CASSANDRA FIGGERS; DEANNA FINLEY;
19   JUDITH FISHER; BRISTINA FLATT;
     KENNETH SHAYNE FLETCHER; BETH
20   GALOFARO; WILLIAM GALVEZ; LACY
     GANN; DANA GETREU; COURTNEY
21   GIBSON; JENNIFER GIBSON; MICHAEL
     MERCED GILARDINO; JIMMY GILMORE;
22   TOMAS GONZALEZ; HEATHER GOOZE;
     MICHAEL GREENFIELD; JULIAN
23   HAMILTON; ANGEL HANDLIN; DARREL
     HANDLIN; MATTHEW HANSEN; MICHAEL
24   HANSSON; CAROL HARDEN; JUSTIN
     HARMAN; LAKHESHA HARRIS; TRINO
25   HARRIS; JENNIFER HAUT; ELIZABETH
     HEFLEY; GABRIELLE HEMPHILL;
26   WILLIAM HENNING; RICHARD CRAIG
     HERMANN; MARIO HERRERA;
27   JACQUELYN HOFFING; MARCELLA
     HOFFMAN; BRITTANY HORTON; MEGAN
28   IANNUZZI; LUCA ICLODEAN; DMOREA

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1 JACKSON; JARON ANTHONY JAMERSON;
     ANGELINA JAMES; COREY JOHNSON;
2    DEANDRE JOHNSON; JAYNELLE
     JOHNSON; JOHANNA JOHNSON; SARAH
3    JOHNSON; EDGAR T. JONES; CHIQUANA
     JOSHUA; MYLES KALK; AUTUM
4    KAPINKIN; JAWAUNDO W. KIMMONS;
     WILLIAM KING; NIKKOLE KNIGHT;
5    ANGELL KNITTLE; ANNA KOPP; DAVID
     KRONBERG; LORI KRUMME; MARY LYNN
6    KUEFFNER; ATHEA LAVIN; AMIAH LEE;
     ERIKA LEE; LISA LEE; NICK LEMAY;
7    ALAN I. LEVITT; CHARLES LEXION;
     YOLANDA LIZARDO; GABRIELA
8    LOMAGLIO; VICENTE LOPEZ; SHAWNA
     LOTT; JOSHUA LUIZ; JOY LUJAN;
9    BRITTANY MACKAY; KERI MAHER;
     CHRISTIAN MARQUEZ; TRACI
10   MARSHALL; RICHARD MASUCCI;
     LINDSEY MATA; TRAVIS MATHESON;
11   STEVE MCBEE; DENISE MCCLELLAN;
     LONNIE MCCORVEY; LYNNE MCCUE;
12   TAMIKA MCGILL; CARMEN MCKINLEY;
     CLEVELAND MCMATH; DOREEN MEDINA;
13   TREZA MEKHAIL; PAIGE MELANSON;
     ROSEMARIE MELANSON; STEPHANIE
14   MELANSON; STEPHEN MELANSON;
     ESTATE OF AUSTIN MEYER; ROMEO
15   MEYER; ROBERT MILLER; PHYLYSSA
     MONTOYA; ALYSSA MOORE; KATRINA
16   MORGAN; SHANCELA MYERS; MARIROSE
     NAING; ANTHONY DON E. NOARBE;
17   AMBER NORCIA; ELSA NUNEZ; ROSE
     O’TOOLE; KUULEI OTIS; STACIE OWENS;
18   CHAD PACKARD; KAYCEE PAUL; ELISA
     PEREZ; ANGELA MARIE PERRY; JEREMY
19   PICKETT; JOSE PLAZA; MACKENZIE
     PLUTA; DARRIAN PORTER; LAURA A.
20   PUGLIA; KARMJIT RAJU; JASMINE REIN;
     STANLEY RENDON; LEA RICHMOND;
21   ISRAEL RIVERA; TONIA ROCHELEAU;
     MICHAEL ROLLAND; MARK RUSSELL;
22   VINCENT SAGER; CHRISTOPHER
     SALINAS; LENEA SAMPSON; ALYSSA
23   SANDS; JOSEPH SARTIN; SARAH
     SCARLETT; SHAWN SCARLETT;
24   SHAYLENNE SCARLETT; KIM SCHMITZ;
     ALISON SHEEHE; CHRISTOPHER
25   SHUEMAKER; BREANNA SKAGEN;
     JENNIFER SKOFF; CHEYENNE SLOAN;
26   EDEN SMITH; JASPER SMITH; YVONNE
     SMITH; MARTIN SOLANO; SHELBY
27   STALKER; CHRIS STEWART; GREGORY
     TAVERNITE; SAM TAYLOR; WENDY
28   TAYLOR-HILL; REGINALD THARPS;

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1 CHRISTINA THEBEAU; DAVID W.
     THERIAULT; BREYANA THOMAS;
2    GABRIELLE THOMAS; SAVANNAH
     THOMAS; STEVEN THOME; ALVA BRUCE
3    TILLEY; MARIYA TORO; KATHRYN
     TRESSLER; JENNIFER A. TURNER;
4    DEBORAH URRIZAGA; WILLIAM F.
     VANDERVEER; FRANK VEALENCIS;
5    TAMARA VEALENCIS; REGINA VIOLA;
     ALYSSA WALKER; TIKIESHA WASP;
6    DONALD WELTY; ZACHARY WILCOX;
     JORDAN WILKINSON; JEFFERY
7    WILLIAMS; TERACIO WILLIAMS; GARY
     “OPIE” ALLEN WISE; JOHN YONTS; JAMIE
8    ZALESKI; JANET ZMYEWSKI; THOMAS
     ZMYEWSKI; ESSENCE ABNER; ALLEN
9    AFSHARI; RAE N. AGUAYO; KHALED
     AHMED; NIKKI RENEE ANN ALIREZ;
10   NADIA ALLIE; FRANK MICHAEL
     ANDERSON III; TRINA ANDRADE-KWIST;
11   CASSIDY ANDREASON; JENNIFER
     ARELLANES; SAMANTA ARJUNE;
12   ANDREW AYALA; JOSEPH L. BALAS;
     TANYA BANUELOS; AUDREY BAREHAM;
13   KYLE BASOM; ROBERT ALTON BEAIRD;
     ANTONYO BELL; WENDY MARIE
14   BENFORD; CARDELL BENSON JR.;
     DAMAEN BENTLEY; MALCOLM
15   BISSEMBER; ED BOUCHER; JENNA
     BOYER; FILLISE BOYKIN; TIA BOYKIN;
16   CARRIE ALLMEN BRADSHAW; JOCELYN
     BRADY; NICKEE BRANHAM-SKOFF;
17   ROBERT J. BRICKMAN II; BILL BRINGOLD;
     NICHOLAS BRONAS; GREGORY BROWN;
18   BRETT BRUCKNER; CELIA BRUNGHURST;
     ELIJAH BRUNGHURST; JAYCEON
19   BRUNGHURST; REGINA BUI; DAVID LYNN
     BUNCH; WALTER BURCH; KAYLA BURDO;
20   GEROGE BURGARD; ZACHARY BURKES;
     SHANNA BURRELL; SAMUEL CABASAG;
21   RUSSELL CAHOY; NICHOLAS JOSEPH
     CAIN-CASEY; JAMIE CALVILLO; BEN
22   CAREY; CHRISTINE CARIA; JANICE
     CARONE-HOWARD; DEONNA CARTER;
23   ANTHONY CAVALLARO; WALTER M.
     CENTENO; ANGELICA CERVANTES;
24   ANJENETTE CHENEY; PENNY CHENIER;
     DIANE CHRISTIAN; AUSTIN
25   CHRISTIANSEN; ASHLEY BERNARD
     CHRISTMAS; MANUEL CIGARROA; GRACE
26   CLAROS; JERMAINE COLQUITT; GLEN
     COONFIELD; DIANA CORRADI; TERI
27   CRANEY; STEPHEN CRAWFORD; JUSTIN
     CREGAR; ANTHONY CRESPIN; EVELYN
28   CRISP; JASPER CROSS; JOHN W.

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1 CROWE JR.; CALLI DEE CURRY; RUTIA
     CURRY; KINGA DAJBUKAT; LATIEF
2    DANIELS; JUANITTA DARLYNN; WALTER
     D. DAVENPORT; CARLETTA DAVIS; DIANE
3    DAVIS; NICOLE DAVIS; QUINTIN DAVIS;
     WILLIAM ZENON DE ARMAS;
4    KRYSTALYN DESOTO; ALFRED DEVAULT;
     CLEVELAND DICKERSON; JUANITA
5    DILLARD; KATRINA DIMACALI; DAVID
     DOGAN; LISA ANN LELANIE DOMEN;
6    HEATHER E. DONAT; LILIANA DONIS;
     JAQUASHIA DOUGLAS; LAUREEN
7    DRIGHT; CYNTHIA MICHELLE DUARTE;
     CYNTHIA EAGLIN; ARTHUR T. EARL;
8    CHRIS EASTMAN; JENNIFER ECKMANN;
     TIJUANA EDWARDS; DAMIAN K.
9    EINBINDER; SALOFIITU EMANUELE;
     HEIDI FARNAM; LAUGHTON FELL;
10   JOSHUA FENOGLIA; CLARENCE FISHER;
     LAURA FISTON; PRECIOUS FLOWERS;
11   EVARICK FORD; JASON A. FORD; MINDY
     P. FOSTER; WILLIAM FOUNTAIN; GERALD
12   FOWLER; MATTHEW FOX; AILEEN R.
     FRANKLYN; ERIC FRASER; LASHEA
13   FRAZIER; NICOLE LYNN FRENCH;
     JEREMY FRIE; LISA FURMAN; MICHAEL
14   GALASSO; BRIDGETT GALLOWAY; MIA
     GANTT; FRANKIE GARCIA; LISANDRA
15   GARCIA; JOSE A. GARDUNO; OLIVER
     GARNICA; PAUL GEORGE JR.;
16   CHARMAINE GERMANY; THOMAS
     GESCHREY; SELAM GHIRMAY; ERIKA
17   GIESECKE; STEPHEN GILES; ATALIE
     GILLISON; BARBARA J. GODRON; DEL
18   GOLDEN; KEOSHA GOLDMAN; AVERY
     GOLDSTON; NATALIE BRIDGES
19   GOODRUM; TRACY L. GORMAN; CHERYL
     GRADY; MELVIN GRANT; KATRINA
20   GRAVES; TAWNY GRAY; MARIO
     GRAYSON; DEANNA GRIESE; KIMBERLY
21   GRIFFIS; RUDY GUARINO; JOEL D.
     GUZMAN; LEO HAIRSTON; MARTINEZ
22   HALL; CODY WAYNE HANSEN;
     SAMANTHA HARB; ALICIA HARMON;
23   DERRICK HARRIS; LATIESHA HARRIS;
     MANDI HARRIS; STACEY HARRIS; AMIR
24   HASAN; TARA HASTINGS; MARTIN
     HATHCOCK; EDWARD R. HAZEN; SEAN
25   HEALY; JOHN HEFLEY; ADALGISA
     HENNING; SUMER HENNING; DAMIAN
26   HENRY; SHEELA L. HENRY; CARLY
     HENSCHEL; SHAUNTEL HIBBITT; JORDAN
27   HICKS; SHANNON HICKS; SUSAN HIMES;
     EBONEY NICOLE HINES; NATHAN
28   HINRICHS; ABIGAIL HINTON; ADRIANA

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1 HINTON; ALEXIS HINTON; AMBEAR
     HINTON; RICK HINTON; JENNIFER
2    HOHNKE; DON HOLBROOK; JUNE
     HOLDREN; AMBER HOLM; RAVEN
3    HOLMES; SHAUNTE HORTON;
     ABDIRAHMAN HOSAIN; MISTY HOUSE;
4    DELOSE HOWARD; SVETLANA HUEY;
     BRITIN C. HUGHES; STEVE HUTCHASON;
5    ANTHONY ISABEL; DEVONTA JACKSON;
     JOHN JENKINS; DAVIELL JOHNSON;
6    LARONTAE JOHNSON; MALVIN JOHNSON;
     RENAE JOLLEY; JONIQUEKA JONES;
7    LANNETTA JONES; BRIANA JOSEPH; JUAN
     JUAREZ; JOHN JULIAS; BRANDON
8    KALAAUKAHI; RON KATZ; WALTKOYA
     KAYZEE; HEATHER KERR; JOSEPH
9    KINDER; TARA KING; RICHARD KINGERY;
     CYNTHIA KITCHENS; JOSEPH KOCJAN;
10   AMBRIZ LADSON; MIGUEL LAGOS;
     BRADLEY KENT LAGRO; MARTIN L.
11   LANDERS; QUENTIN LATHAN; MICHAEL
     LEAHY; CHLOE LEBO; KATHRYN RENEE
12   LECKIE; MAXIME LECOCQ; MHONAI LEE;
     YVONNE LEE; AITOR LEJARDI; CRYSTAL
13   LEJARDI; TARA LEM-MONS; ALICIA
     LEONARD; SAMUEL LEUTY; ASHLEY
14   BREANNA LEWIS; CAROLYN LIZAMA;
     CORINNE LOMAS; EILEEN LOPEZ;
15   JAHAIRA LOSEY; ZEKIEL LOSEY; JEREMY
     LOWERY; NICOLE LUCIANO; KAYLA
16   MACIAS; CYNTHIA MAEVERS; WILLIAM
     MALONEY; ERIC MALTZ; WILLIAM
17   MANCIANO; MICHELLE XANI MANGIBIN;
     SHIRLEY MANUS; DASHAUN MARSHALL;
18   DONTE MARSHALL; HOLY ANGEL
     MARTINEZ; STEVEN MARTINEZ; LANA
19   MATHIS; MONIQUE MAXEY; JAMIE
     MAXWELL; MOUSSA MBOUP; SZILVIA
20   MCBRIDE; KEMMY MCCOY; JAMONTE
     MCCULLAR; SHIRLEY MCCURRY;
21   TASHARA MCMULLEN; RAJAI J. MCNEILI;
     CHRISTIAN MCQUOWN; JAMIE
22   MEDEIROS; JOVANNIE MEDIANO;
     KIDADA MEDINA; LAUREL
23   MEEK;JANETTE MEJIA; JOSHUA MEJIA;
     IRERI MENDEZ-ALVAREZ; JOSE
24   MENENDEZ; DARREN MERRIWEATHER;
     VANESSA MICHELS; JAROD MIELCAREK;
25   JAZA'NA MILLER; JAZMIA MILLER;
     LEVELLE MILLS; KIMANI MITCHELL;
26   LAZARO MONT-ROS; MARKEITH MOORE;
     DARRIN MOREMAN; GEORGIANNE MARIE
27   MORGAN; SHAKIERA MORRIS; DEVONTE-
     AMIR MORRISON; LADARIUS MORRISON;
28   VENUS MOSLEY; KYLIE D. MULCAHY;

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1 SEAN P. MULLALY; MIA MUMFORD;
     ESTHER MUNOZ; DEANGELO MURILLO;
2    RONALD MURRAY; RILEY MUSGRAVE;
     MACY MYERS; JOAN MYLES; MARK
3    MYSZAK; MOHAMMAD NASSAR;
     GREGORY L. NELSON; CHAYLA NEPOTE;
4    SANDY NGUYEN; ANNETTA NICHOLSON;
     LELA JEAN NORTON; TOBY NORWOOD;
5    SAVANNA OCHOA; MFALME ODIE;
     ALICIA M. OLIVE; JENNA O'NEAL;
6    DONALD ORLAN; ANNETTE OROZCO;
     NOEMI OROZCO; VICTOR ORSCHEL;
7    TANNY OWENS; JOSEPH PACE; CARLOS
     PADILLA; BACARRI PAGE; BONNIE
8    PALAZZOLA; NAOMI PANTIRU; NEPTALI
     PAREDES-FIGUEROA; CHAD PARISIEN;
9    THOMASINA PARKER; YVETTE PARKER;
     BRIDGET PARKINGTON; BRITTNEY
10   PARKINGTON; ALINA PARRISH;
     MICHELLE PEARSON; CHRISTOPHER C.
11   PEIRCE; JAMES PELZ; KAYLA PEREZ;
     JEFFREY PERKINS; DURWIN PERRY JR.;
12   SHARON PETTAWAY; CELINA PHEM;
     JEANNETTA POLITE; CORY POLIZZI;
13   TYRESHA POLK; ANTONIO PONCIANO;
     TIFFANY RAECENE POPE; BEATRICE
14   POTTER; DAVID PRECIADO; MARIA
     PRECIADO; DRAKE PRITCHETT;
15   BRITTANY LYNN QUINTERO; RASHIDA
     RAINES; INA RAMIREZ; MARIA RAMIREZ;
16   ROMMEL RAMOS; JIHAD RANDOLPH;
     PAULETTE RAPHAEL; OSCAR RAPIO;
17   LAWRENCE RAYBUCK; PAULA JANE
     REID; KATHERINE RENFRO; GARLAND
18   REYES; KIMBERLY RICHIE; MIKE
     RICHMEIER; CHAMIKA ROBERSON;
19   DONTAE LAROI ROBINSON; MARGO
     ROBINSON; JOSETTE ROCHA; ANGELITA
20   F. RODRIGUEZ; TONIA ROLAND;
     JANEANN ROLLINS; DESIREE RONDEAU;
21   RAQUEL ROOKS; ANTAWN ROSS;
     TIRRELLE ROSS; ALLAN ROUSSEAU;
22   SHIRLEY RUELAS; ANTHONY RUFO;
     STEVE SAGELY; HEATHER SALLAN; LISA
23   KIM M. SAMMONS; PRINCESS SANTOS;
     MELISSA SAUCEDO; KATREE SAUNDERS;
24   ALISSA SAVATH; EUGENE SCHAVERS;
     GLORIA J. SCHRYVER; SARA BETH
25   SCHUSSLER; RODERICK RICO SCOTT;
     SYDNEY SHAVER; COREY SHIPP; JOE
26   SHIPP; JOYCE SHIPP; TAMALA SIEGEL;
     JOHANNA SIMEON; GARY ELIOT
27   SIMMONS; JUSTIN E. SIMMONS; FLEMING
     SMITH III; CALVIN SMITH; IMELDA
28   SMITH; IYUNA SMITH; JOANEKA SMITH;

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1 JOLANDA SMITH; LEVONNE SMITH; TINA
     SMITH; ELIZABETH SOCCI; LISA
2    SOININEN; DAYSI M. SOLANO; ARMANDO
     SOLIS JR.; ARMANDO SOLIS; STEVEN
3    SONNENBURG; KARLA SORROSA;
     MICHELLE SOUZA; PASQUALE SPANO;
4    RONIKA SPEARS; SHERWIN ST. JOHN;
     MICHAEL STALEY; SHANNAN STEARNS;
5    KENNETH STEWARD; CLARENCE
     STOCKTON; VALERIE STOUT; VINCENT
6    SULLIVAN; LISA SULVETTA; JACK
     SUMMERLIN; SHAWNA SUTTON; JOHN
7    SWAYZER; LARRY GORDON SWIFT;
     MERON TADESSE; SHONTE TALLEY;
8    GRACIELA TAPIA; BETTY TAYLOR;
     LAUREN D. TAYLOR; KELLIE TEDERMAN;
9    TREASURE TELLIS; DIANE THARPE;
     CHRISTINA THOMAS; KARNESHA
10   THOMAS; BAILEY THOMPSON; KEELY
     THOMPSON; ANGELA TODD; RICHARD
11   TOFFOLLA; TODD TOMLIN; RAFAEL
     TORREGANO; QUINCY TORRES; ROSALIA
12   TORRES; VERONICA TORRES; JORDAN E.
     TREMPER; COLIN TREVINO; FRANCESCA
13   TRUJILLO; ISABELLA TRUJILLO; SAMUEL
     LEE TRUJILLO; MARYLOC TRUSHEL;
14   TANISHA TURNER; JANETTE A. URIBE;
     SANDRA VELASQUEZ; EDGAR VICENTE;
15   ALMA DELIA VILLA; NJERI WADE;
     AUTUMN WAKE; IMELDA WALKER;
16   KAMIA WALKER; LORI WALLER; MARIO
     WALLER; PENISE WALLER; ALEX
17   WALTERS; ODJESSICA WARD; SHAWN
     WASHBURN; DARNELL S. WATTS;
18   RANDALL WEBB; MARCUS WELLMAKER;
     JUAN WESLEY; GLADYS WHITEHURST;
19   NICOLE WHITLOCK; WILLIAM WIEGER;
     ANNIE WIGGINS; CHISCA WILEY; CRAIG
20   A. WILLIAMS; LEON WILLIAMS; NOAH
     WILLIAMS; TERI WILLIAMS; JULIA
21   WILLIAMS-LONG; RINA WILLIAMSON;
     L'TANYA WILSON; DONNA WILSON-
22   DEMMON; SARAH ANN WITTSTOCK;
     ROBYN-LEE WOLCHYN; TAMMY WOLFE;
23   LATRICIA WOODS; NIKKI WOODS;
     NISHON WOODS; SHAY WRIGHT; JOSHUA
24   WRZESINSK; ANDRE WYATT; MICHAEL
     YANG; GERALD YEAGER; KENYA R.
25   YOUNG; ROYE YOUNG; VASSAR D.
     YOUNG; JESSICA LAUREN ZETTERBERG,
26
                  DEFENDANTS.
27
28
     39268621.2

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 1                                          INTRODUCTION

 2            1.   On October 1, 2017, Stephen Paddock carried out a mass attack at the Route 91

 3 Harvest Festival in Las Vegas, Nevada.
 4            2.   Paddock intended to inflict mass injury, death and destruction. He killed

 5 58 persons and injured some 500 others. Paddock’s attack resulted in the highest number of
 6 deaths of any mass shooting in the Nation’s history.
 7            3.   Security for the concert was provided by Contemporary Services Corporation,

 8 whose security services have been certified by the Secretary of Homeland Security for protecting
 9 against and responding to acts of mass injury and destruction.
10            4.   Recognizing the national interest in such events, and in the development and

11 deployment of services certified by the Secretary of Homeland Security to prevent and respond to
12 such events, Congress has provided original and exclusive federal jurisdiction for any claims of
13 injuries arising out of or relating to mass violence where services certified by the Department were
14 deployed.
15            5.   Plaintiff MGM Resorts Festival Grounds, LLC owns and operates the Las Vegas

16 Village, at 3901 South Las Vegas Boulevard, Las Vegas, Nevada 89119, where the Route 91
17 Harvest Festival was held. Plaintiff Mandalay Bay, LLC owns and operates the Mandalay Bay
18 resort, which is adjacent to Las Vegas Village. Plaintiff MGM Resorts International is the parent
19 corporation, with an indirect 100% interest in Mandalay Bay, LLC, and MGM Resorts Festival
20 Grounds. Plaintiff MGM Resorts Venue Management, LLC is a Nevada limited liability
21 company.
22            6.    Paddock carried out his mass attack on the concert from a room on the 32nd floor

23 of the Mandalay Bay resort.
24            7.   Following Paddock’s attack, over 2,500 individuals (“Claimants”) have brought

25 lawsuits, or threatened to bring lawsuits, against Plaintiffs MGM Resorts Festival Grounds, LLC,
26 MGM Resorts International, Mandalay Bay, LLC, Mandalay Resort Group, and MGM Resorts
27 Venue Management, LLC (collectively, “the MGM Parties”), alleging that the MGM Parties
28 (among others) are liable for deaths, injuries, and emotional distress resulting from Paddock’s
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          COMPLAINT FOR DECLARATORY RELIEF RE APPLICATION OF SAFETY ACT, 6 U.S.C. §§ 441-444
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 1 attack. Claimants subsequently voluntarily dismissed these cases before they could be resolved,
 2 apparently with the intent of refiling.
 3            8.    Named as defendants in this case are Claimants who have brought lawsuits (which

 4 they subsequently voluntarily dismissed) against the MGM Parties, alleging claims arising from
 5 Paddock’s attack, and persons who, through counsel, have threatened to bring such claims against
 6 the MGM Parties.
 7            9.    Congress has enacted legislation to support the development of new technologies

 8 and services to prevent and respond to mass violence. That legislation, the Support
 9 Anti-Terrorism by Fostering Effective Technologies Act of 2002, 6 U.S.C. §§ 441-444 (also
10 known by the acronym, the “SAFETY Act”), provides a calibrated balance of remedies and
11 limitations on liabilities arising from mass attacks committed on U.S. soil where services certified
12 by the Department of Homeland Security were deployed.
13            10.   In the case of Paddock’s mass attack, certified technologies or services were

14 deployed by a professional security company, Contemporary Services Corporation (“CSC”),
15 which was employed as the Security Vendor for the Route 91 concert. As alleged in more detail
16 below, Paddock’s mass attack meets the requirements of the SAFETY Act as set forth in the
17 statute and the Regulations promulgated by the Department of Homeland Security.
18            11.   Defendants’ actual and threatened lawsuits implicate the services provided by CSC

19 because they implicate security at the concert, for example security training, emergency response,
20 evacuation, and adequacy of egress.
21            12.   As a result, the SAFETY Act applies to and governs all actions and any claims

22 arising out of or relating to Paddock’s mass attack. There are five key aspects of the Act and
23 implementing regulations promulgated by the Department of Homeland Security as authorized and
24 contemplated by the SAFETY Act. 6 C.F.R. § 25.1 et seq.
25            13.   First, the SAFETY Act creates a “Federal cause of action for claims arising out of

26 [or] relating to” an act of mass violence where certified services were deployed and where such
27 claims may result in losses to the Seller of the services. 6 U.S.C. § 442(a)(1).
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 1            14.   Second, the SAFETY Act expressly provides the federal courts with “original and

 2 exclusive jurisdiction over all actions for any claim for loss” arising out of or related to such an
 3 attack. 6 U.S.C. § 442(a)(2).
 4            15.   Third, as confirmed by the Secretary’s implementing regulations promulgated after

 5 enactment of the SAFETY Act, the federal cause of action created by the statute is the exclusive
 6 claim available in such circumstances. 6 U.S.C. § 442(a)(1). The regulations state: “There shall
 7 exist only one cause of action for loss of property, personal injury, or death for performance or
 8 non-performance of the Seller’s Qualified Anti–Terrorism Technology in relation to an Act of
 9 Terrorism.” 6 C.F.R. § 25.7(d).
10            16.   Fourth, the regulations further provide that “Such cause of action may be brought

11 only against the Seller of the Qualified Anti–Terrorism Technology and may not be brought
12 against the buyers, the buyers’ contractors, or downstream users of the Technology, the Seller's
13 suppliers or contractors, or any other person or entity.” 6 C.F.R. § 25.7(d).
14            17.   Fifth, to ensure compensation for victims in appropriate cases, the SAFETY Act

15 requires that the Seller “obtain liability insurance of such types and in such amounts as shall be
16 required in accordance with this section and certified by the Secretary to satisfy otherwise
17 compensable third-party claims arising out of, relating to, or resulting from an act of terrorism.”
18 6 U.S.C. § 443(a)(1).
19            18.   Congress enacted the SAFETY Act in recognition of the strong national interest in

20 encouraging the development and use of technologies and services that can help prevent and
21 respond to mass violence. The Act does so in part by assurance of limited liability in the
22 unfortunate event that an incident of mass violence occurs and injuries occur despite the
23 deployment of such technology. The Act also does so by creating original and exclusive
24 jurisdiction for the resolution of all controversies in federal court. 6 U.S.C. § 442(a)(2).
25            19.   The SAFETY Act expressly provides the federal courts with original and exclusive

26 jurisdiction over “all actions for and any claims for loss [or] injury” arising out of or relating to a
27 mass attack where certified services were provided and where such claims may result in losses to
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 1 the seller of those services. The Act and the associated regulations make clear that any such claim
 2 against the MGM Parties must be dismissed.
 3            20.   By this action, the MGM Parties seek a declaratory judgment and further relief

 4 pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, that the MGM parties
 5 cannot be held liable to Defendants for deaths, injuries, or other damages arising from Paddock’s
 6 attack.
 7                                               PARTIES

 8            A.    PLAINTIFFS

 9            21.   Plaintiff MGM RESORTS INTERNATIONAL is a Delaware corporation with its

10 principal place of business in Las Vegas, Nevada.
11            22.   Plaintiff MANDALAY RESORT GROUP is a Nevada corporation with its

12 principal place of business in Las Vegas, Nevada.
13            23.   Plaintiff, MANDALAY BAY, LLC f/k/a MANDALAY CORP. is a Nevada

14 limited liability company with a single member, Mandalay Resort Group.
15            24.   Plaintiff MGM RESORTS FESTIVAL GROUNDS, LLC is a Nevada limited

16 liability company with a single member, Mandalay Resort Group.
17            25.   Plaintiff MGM RESORTS VENUE MANAGEMENT, LLC is a Nevada limited

18 liability company with a single member, MGM Resorts International.
19            B.    DEFENDANTS

20            26.   Plaintiffs are informed and believe, and thereon allege, that defendant Carlos

21 Acosta is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
22 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
23 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
24 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
25            27.   Plaintiffs are informed and believe, and thereon allege, that defendant Emmanuel

26 Affran is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 2 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 3            28.   Plaintiffs are informed and believe and thereon allege that Defendant Greg Aguayo

 4 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 5 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 6 Nevada.
 7            29.   Plaintiffs are informed and believe and thereon allege that Defendant Lillian

 8 Aguirre is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 9 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
10 Las Vegas, Nevada.
11            30.   Plaintiffs are informed and believe, and thereon allege, that defendant Dionndra

12 Alexander is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
13 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
14 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
15 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
16 BC684047.
17            31.   Plaintiffs are informed and believe and thereon allege that Defendant Leslie

18 Alworth is a resident of the State of Nevada. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            32.   Plaintiffs are informed and believe, and thereon allege, that defendant Enrique

22 Argueta is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
24 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
25 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
26            33.   Plaintiffs are informed and believe, and thereon allege, that defendant Shane

27 Armstrong is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
28 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
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 1 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Athena Castilla v.
 2 MGM, filed October 18, 2017, in the Los Angeles Superior Court (“LASC”), case number
 3 BC680193.
 4            34.   Plaintiffs are informed and believe, and thereon allege, that defendant Imari Ausbie

 5 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 6 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 7 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 8 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 9            35.   Plaintiffs are informed and believe, and thereon allege, that defendant Tina Marie

10 Avery is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
11 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
12 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
13 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
14            36.   Plaintiffs are informed and believe and thereon allege that Defendant Jeffrey

15 Bachman is a resident of the State of Nevada. Defendant has, through counsel, asserted or
16 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
17 Las Vegas, Nevada.
18            37.   Plaintiffs are informed and believe and thereon allege that Defendant Joseph l.

19 Balas is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
20 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
21 Nevada.
22            38.   Plaintiffs are informed and believe, and thereon allege, that defendant Breanna

23 Grace Francl Baldridge is a resident of the State of Nevada. Defendant has previously filed a
24 lawsuit (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs,
25 asserting claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in
26 Baldridge, et al. v. MGM, filed January 18, 2018, in Clark County District Court
27 (“Clark County”), case number A-18-767981-C.
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 1            39.   Plaintiffs are informed and believe, and thereon allege, that defendant Malinda

 2 Baldridge is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
 3 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
 4 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Baldridge, et al. v.
 5 MGM, filed January 18, 2018, in Clark County District Court (“Clark County”),
 6 case number A-18-767981-C.
 7            40.   Plaintiffs are informed and believe, and thereon allege, that defendant Cole

 8 Baldwin is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 9 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
10 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
11 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
12            41.   Plaintiffs are informed and believe and thereon allege that Defendant Paul Balfour

13 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
14 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
15 Nevada.
16            42.   Plaintiffs are informed and believe and thereon allege that Defendant Alicia Beatty

17 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
18 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
19 Nevada.
20            43.   Plaintiffs are informed and believe and thereon allege that Defendant Elizabeth

21 Beatty is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
22 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
23 Nevada.
24            44.   Plaintiffs are informed and believe and thereon allege that Defendant Matthew

25 Beatty is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
26 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
27 Nevada.
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 1            45.   Plaintiffs are informed and believe, and thereon allege, that defendant Brandy

 2 Beaver is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            46.   Plaintiffs are informed and believe, and thereon allege, that defendant Brandon

 7 Charles Beckett is a resident of the State of Nevada. Defendant has previously filed a lawsuit
 8 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
 9 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham,
10 et al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”),
11 case number BC684047.
12            47.   Plaintiffs are informed and believe and thereon allege that Defendant Tina Bedartes

13 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
14 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
15 Nevada.
16            48.   Plaintiffs are informed and believe, and thereon allege, that defendant Chico Belser

17 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
18 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
19 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
20 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
21            49.   Plaintiffs are informed and believe, and thereon allege, that defendant Christi Beran

22 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
24 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
25 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
26            50.   Plaintiffs are informed and believe and thereon allege that Defendant Karen Berney

27 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
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 1 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 2 Nevada.
 3            51.   Plaintiffs are informed and believe, and thereon allege, that defendant Jennifer L.

 4 Bithell is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 5 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 6 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 7 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 8            52.   Plaintiffs are informed and believe, and thereon allege, that defendant Russell

 9 Bleck is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
12 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
13            53.   Plaintiffs are informed and believe, and thereon allege, that defendant Aaron

14 Bouphapraseuth is a resident of the State of Nevada. Defendant has previously filed a lawsuit
15 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
16 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et
17 al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
18 BC684047.
19            54.   Plaintiffs are informed and believe and thereon allege that Defendant Joshua Brady

20 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
21 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
22 Nevada.
23            55.   Plaintiffs are informed and believe, and thereon allege, that defendant Chandra

24 Bridges is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
25 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
26 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
27 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
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 1            56.   Plaintiffs are informed and believe, and thereon allege, that defendant Craig Alan

 2 Brockett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            57.   Plaintiffs are informed and believe, and thereon allege, that defendant Debbie

 7 Brockett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 8 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 9 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
10 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
11            58.   Plaintiffs are informed and believe, and thereon allege, that defendant Kali Brockett

12 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
15 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
16            59.   Plaintiffs are informed and believe, and thereon allege, that defendant Lexia

17 Brockett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
18 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
19 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
20 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
21            60.   Plaintiffs are informed and believe, and thereon allege, that defendant Caitlin

22 Brunner is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
24 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Brunner v. MGM,
25 filed November 15, 2017, in the Clark County District Court (“Clark County”),
26 case number A-17-764745-C.
27            61.   Plaintiffs are informed and believe, and thereon allege, that defendant Andre

28 Bryant is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
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 1 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 2 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 3 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 4            62.   Plaintiffs are informed and believe, and thereon allege, that defendant Jori

 5 Buckland is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 6 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 7 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Buckland v. MGM,
 8 filed November 15, 2017, in the Clark County District Court (“Clark County”),
 9 case number A-17-764741-C.
10            63.   Plaintiffs are informed and believe and thereon allege that Defendant Tiffanie

11 Buehler is a resident of the State of Nevada. Defendant has, through counsel, asserted or
12 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
13 Las Vegas, Nevada.
14            64.   Plaintiffs are informed and believe and thereon allege that Defendant Anthony

15 Burns is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
16 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
17 Nevada.
18            65.   Plaintiffs are informed and believe, and thereon allege, that defendant Andretti

19 Cage is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            66.   Plaintiffs are informed and believe, and thereon allege, that defendant Kimberly

24 Calderon is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
25 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
26 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v.
27 MGM, filed January 4, 2018, in the Clark County District Court (“Clark County”),
28 case number A-18-767288-C.
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 1            67.   Plaintiffs are informed and believe, and thereon allege, that defendant Earllitra

 2 Danielle Carter is a resident of the State of Nevada. Defendant has previously filed a lawsuit
 3 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
 4 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham,
 5 et al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”),
 6 case number BC684047.
 7            68.   Plaintiffs are informed and believe, and thereon allege, that defendant Athena

 8 Castilla is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 9 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
10 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Athena Castilla v. MGM,
11 filed October 18, 2017, in the Los Angeles Superior Court (“LASC”), case number BC680193.
12            69.   Plaintiffs are informed and believe, and thereon allege, that defendant Shayla

13 Cataldo is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
14 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
15 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Cataldo v. MGM,
16 filed November 15, 2017, in the Clark County District Court (“Clark County”),
17 case number A-17-764738-C.
18            70.   Plaintiffs are informed and believe, and thereon allege, that defendant Tequela

19 Chappell is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            71.   Plaintiffs are informed and believe and thereon allege that Defendant Savanna

24 Chasco is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
25 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
26 Nevada.
27            72.   Plaintiffs are informed and believe, and thereon allege, that defendant Danny Cluff

28 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
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 1 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 2 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 3 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 4            73.   Plaintiffs are informed and believe and thereon allege that Defendant Greg Cluff is

 5 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
 6 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
 7            74.   Plaintiffs are informed and believe and thereon allege that Defendant Cody Coffer

 8 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 9 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
10 Nevada.
11            75.   Plaintiffs are informed and believe, and thereon allege, that defendant Markie

12 Coffer is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
15 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
16            76.   Plaintiffs are informed and believe, and thereon allege, that defendant Connie D.

17 Coleman is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
18 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
19 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Gasper, et al. v. MGM, filed
20 November 20, 2017, in Los Angeles Superior Court (“LASC”), case number BC684143
21            77.   Plaintiffs are informed and believe, and thereon allege, that defendant Kimberly

22 Collins is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
24 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
25 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
26            78.   Plaintiffs are informed and believe and thereon allege that Defendant Sue Ann

27 Cornwell is a resident of the State of Nevada. Defendant has, through counsel, asserted or
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 1 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 2 Las Vegas, Nevada.
 3            79.   Plaintiffs are informed and believe, and thereon allege, that defendant Daniel

 4 Cortes is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 5 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 6 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 7 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 8            80.   Plaintiffs are informed and believe, and thereon allege, that defendant Brett

 9 Cossairt is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
12 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
13            81.   Plaintiffs are informed and believe and thereon allege that Defendant Mandi

14 Crowder is a resident of the State of Nevada. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            82.   Plaintiffs are informed and believe and thereon allege that Defendant Chanell

18 Cuellar is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
19 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            83.   Plaintiffs are informed and believe and thereon allege that Defendant Juan Cuellar

22 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
23 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
24 Nevada.
25            84.   Plaintiffs are informed and believe, and thereon allege, that defendant Rainna Rusk

26 Davis is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 2 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 3            85.   Plaintiffs are informed and believe and thereon allege that Defendant Whitney Day

 4 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 5 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 6 Nevada.
 7            86.   Plaintiffs are informed and believe and thereon allege that Defendant John Deane is

 8 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
 9 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
10            87.   Plaintiffs are informed and believe, and thereon allege, that defendant Rachel

11 DelaPaz is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
12 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
13 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
14 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
15            88.   Plaintiffs are informed and believe, and thereon allege, that defendant Hannah

16 Dominguez is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
17 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
18 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
19 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”),
20 case number BC684047.
21            89.   Plaintiffs are informed and believe, and thereon allege, that defendant Jomont

22 Dotton is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
24 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
25 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
26            90.   Plaintiffs are informed and believe, and thereon allege, that defendant Sandra

27 Douglas is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
28 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 2 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 3            91.   Plaintiffs are informed and believe, and thereon allege, that defendant Michael

 4 Dyer is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 5 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 6 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 7 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 8            92.   Plaintiffs are informed and believe, and thereon allege, that defendant Hugh Joseph

 9 Dyer III is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
12 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
13            93.   Plaintiffs are informed and believe, and thereon allege, that defendant Sonya Esters

14 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
17 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
18            94.   Plaintiffs are informed and believe and thereon allege that Defendant Emily Evans

19 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
20 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
21 Nevada.
22            95.   Plaintiffs are informed and believe, and thereon allege, that defendant Michelle

23 Evans is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
24 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
25 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
26 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
27            96.   Plaintiffs are informed and believe, and thereon allege, that defendant Kristina

28 Falco is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
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 1 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 2 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 3 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 4            97.    Plaintiffs are informed and believe, and thereon allege, that defendant Cassandra

 5 Figgers is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 6 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 7 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 8 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 9            98.    Plaintiffs are informed and believe and thereon allege that Defendant Deanna

10 Finley is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
11 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            99.    Plaintiffs are informed and believe, and thereon allege, that defendant Judith Fisher

14 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
17 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
18            100.   Plaintiffs are informed and believe, and thereon allege, that defendant Bristina Flatt

19 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            101.   Plaintiffs are informed and believe, and thereon allege, that defendant Kenneth

24 Shayne Fletcher is a resident of the State of Nevada. Defendant has previously filed a lawsuit
25 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
26 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in
27 Abraham, et al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”),
28 case number BC684047.
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 1            102.   Plaintiffs are informed and believe and thereon allege that Defendant Beth Galofaro

 2 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 3 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            103.   Plaintiffs are informed and believe, and thereon allege, that defendant William

 6 Galvez is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 7 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 8 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 9 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
10            104.   Plaintiffs are informed and believe and thereon allege that Defendant Lacy Gann is

11 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
12 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
13            105.   Plaintiffs are informed and believe and thereon allege that Defendant Dana Getreu

14 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
15 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            106.   Plaintiffs are informed and believe, and thereon allege, that defendant Courtney

18 Gibson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
19 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
20 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
21 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
22            107.   Plaintiffs are informed and believe and thereon allege that Defendant Jennifer

23 Gibson is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
24 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
25 Nevada.
26            108.   Plaintiffs are informed and believe, and thereon allege, that defendant Michael

27 Merced Gilardino is a resident of the State of Nevada. Defendant has previously filed a lawsuit
28 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
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 1 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in
 2 Abraham, et al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”),
 3 case number BC684047.
 4            109.   Plaintiffs are informed and believe and thereon allege that Defendant Jimmy

 5 Gilmore is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 6 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 7 Las Vegas, Nevada.
 8            110.   Plaintiffs are informed and believe, and thereon allege, that defendant Tomas

 9 Gonzalez is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
12 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
13            111.   Plaintiffs are informed and believe, and thereon allege, that defendant Heather

14 Gooze is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Gooze v. MGM, filed
17 November 15, 2017, in the Clark County District Court (“Clark County”),
18 case number A-17-764718-C.
19            112.   Plaintiffs are informed and believe, and thereon allege, that defendant Michael

20 Greenfield is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
21 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
22 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v.
23 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”),
24 case number BC687120.
25            113.   Plaintiffs are informed and believe, and thereon allege, that defendant Julian

26 Hamilton is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 2 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 3            114.   Plaintiffs are informed and believe and thereon allege that Defendant Angel

 4 Handlin is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 5 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 6 Las Vegas, Nevada.
 7            115.   Plaintiffs are informed and believe and thereon allege that Defendant Darrel

 8 Handlin is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 9 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
10 Las Vegas, Nevada.
11            116.   Plaintiffs are informed and believe, and thereon allege, that defendant Matthew

12 Hansen is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
15 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
16            117.   Plaintiffs are informed and believe and thereon allege that Defendant Michael

17 Hansson is a resident of the State of Nevada. Defendant has, through counsel, asserted or
18 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
19 Las Vegas, Nevada.
20            118.   Plaintiffs are informed and believe, and thereon allege, that defendant Carol Harden

21 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
22 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
23 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
24 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
25            119.   Plaintiffs are informed and believe and thereon allege that Defendant Justin

26 Harman is a resident of the State of Nevada. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            120.   Plaintiffs are informed and believe, and thereon allege, that defendant Lakhesha

 2 Harris is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            121.   Plaintiffs are informed and believe, and thereon allege, that defendant Trino Harris

 7 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 8 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 9 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
10 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
11            122.   Plaintiffs are informed and believe, and thereon allege, that defendant Jennifer Haut

12 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
15 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
16            123.   Plaintiffs are informed and believe and thereon allege that Defendant Elizabeth

17 Hefley is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
18 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
19 Nevada.
20            124.   Plaintiffs are informed and believe and thereon allege that Defendant Gabrielle

21 Hemphill is a resident of the State of Nevada. Defendant has, through counsel, asserted or
22 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
23 Las Vegas, Nevada.
24            125.   Plaintiffs are informed and believe and thereon allege that Defendant William

25 Henning is a resident of the State of Nevada. Defendant has, through counsel, asserted or
26 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
27 Las Vegas, Nevada.
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 1            126.   Plaintiffs are informed and believe, and thereon allege, that defendant Richard

 2 Craig Hermann is a resident of the State of Nevada. Defendant has previously filed a lawsuit
 3 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
 4 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et
 5 al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
 6 BC684047.
 7            127.   Plaintiffs are informed and believe, and thereon allege, that defendant Mario

 8 Herrera is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 9 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
10 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
11 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
12            128.   Plaintiffs are informed and believe and thereon allege that Defendant Jacquelyn

13 Hoffing is a resident of the State of Nevada. Defendant has, through counsel, asserted or
14 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
15 Las Vegas, Nevada.
16            129.   Plaintiffs are informed and believe, and thereon allege, that defendant Marcella

17 Hoffman is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
18 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
19 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
20 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
21            130.   Plaintiffs are informed and believe, and thereon allege, that defendant Brittany

22 Horton is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
24 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
25 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
26            131.   Plaintiffs are informed and believe and thereon allege that Defendant Megan

27 Iannuzzi is a resident of the State of Nevada. Defendant has, through counsel, asserted or
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 1 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 2 Las Vegas, Nevada.
 3            132.   Plaintiffs are informed and believe, and thereon allege, that defendant Luca

 4 Iclodean is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 5 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 6 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Iclodean v. MGM, filed
 7 November 15, 2017, in the Clark County District Court (“Clark County”), case
 8 number A-17-764716-C.
 9            133.   Plaintiffs are informed and believe, and thereon allege, that defendant Dmorea

10 Jackson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
11 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
12 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
13 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
14            134.   Plaintiffs are informed and believe, and thereon allege, that defendant Jaron

15 Anthony Jamerson is a resident of the State of Nevada. Defendant has previously filed a lawsuit
16 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
17 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et
18 al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
19 BC684047.
20            135.   Plaintiffs are informed and believe, and thereon allege, that defendant Angelina

21 James is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
22 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
23 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
24 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
25            136.   Plaintiffs are informed and believe, and thereon allege, that defendant Corey

26 Johnson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 2 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 3            137.   Plaintiffs are informed and believe, and thereon allege, that defendant DeAndre

 4 Johnson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 5 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 6 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 7 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 8            138.   Plaintiffs are informed and believe, and thereon allege, that defendant Jaynelle

 9 Johnson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
12 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
13            139.   Plaintiffs are informed and believe, and thereon allege, that defendant Johanna

14 Johnson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
17 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
18            140.   Plaintiffs are informed and believe, and thereon allege, that defendant Sarah

19 Johnson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            141.   Plaintiffs are informed and believe, and thereon allege, that defendant Edgar T.

24 Jones is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
25 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
26 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
27 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
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 1            142.   Plaintiffs are informed and believe, and thereon allege, that defendant Chiquana

 2 Joshua is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            143.   Plaintiffs are informed and believe and thereon allege that Defendant Myles Kalk is

 7 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
 8 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
 9            144.   Plaintiffs are informed and believe and thereon allege that Defendant Autum

10 Kapinkin is a resident of the State of Nevada. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            145.   Plaintiffs are informed and believe, and thereon allege, that defendant Jawaundo W.

14 Kimmons is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
15 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
16 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
17 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
18 BC684047.
19            146.   Plaintiffs are informed and believe, and thereon allege, that defendant William

20 King is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
21 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
22 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v. MGM,
23 filed January 4, 2018, in the Clark County District Court (“Clark County”), case
24 number A-18-767288-C.
25            147.   Plaintiffs are informed and believe and thereon allege that Defendant Nikkole

26 Knight is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
27 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
28 Nevada.
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 1            148.   Plaintiffs are informed and believe, and thereon allege, that defendant Angell

 2 Knittle is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            149.   Plaintiffs are informed and believe and thereon allege that Defendant Anna Kopp is

 7 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
 8 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
 9            150.   Plaintiffs are informed and believe, and thereon allege, that defendant David

10 Kronberg is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
11 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
12 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
13 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
14            151.   Plaintiffs are informed and believe and thereon allege that Defendant Lori Krumme

15 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
16 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
17 Nevada.
18            152.   Plaintiffs are informed and believe, and thereon allege, that defendant Mary Lynn

19 Kueffner is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            153.   Plaintiffs are informed and believe and thereon allege that Defendant Athea Lavin

24 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
25 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
26 Nevada.
27            154.   Plaintiffs are informed and believe, and thereon allege, that defendant Amiah Lee is

28 a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
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 1 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 2 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 3 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 4            155.   Plaintiffs are informed and believe, and thereon allege, that defendant Erika Lee is

 5 a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 6 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 7 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 8 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 9            156.   Plaintiffs are informed and believe, and thereon allege, that defendant Lisa Lee is a

10 resident of the State of Nevada. Defendant has previously filed a lawsuit (which was subsequently
11 voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising from the
12 October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
13 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
14            157.   Plaintiffs are informed and believe, and thereon allege, that defendant Nick Lemay

15 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
16 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
17 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
18 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
19            158.   Plaintiffs are informed and believe, and thereon allege, that defendant Alan I. Levitt

20 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
21 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
22 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Gasper, et al. v. MGM, filed
23 November 20, 2017, in Los Angeles Superior Court (“LASC”), case number BC684143
24            159.   Plaintiffs are informed and believe, and thereon allege, that defendant Charles

25 Lexion is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
26 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
27 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
28 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
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 1            160.   Plaintiffs are informed and believe, and thereon allege, that defendant Yolanda

 2 Lizardo is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            161.   Plaintiffs are informed and believe and thereon allege that Defendant Gabriela

 7 Lomaglio is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 8 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 9 Las Vegas, Nevada.
10            162.   Plaintiffs are informed and believe, and thereon allege, that defendant Vicente

11 Lopez is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
12 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
13 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
14 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
15            163.   Plaintiffs are informed and believe, and thereon allege, that defendant Shawna Lott

16 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
17 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
18 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Lott v. MGM, filed
19 November 15, 2017, in the Clark County District Court (“Clark County”), case
20 number A-17-764736-C.
21            164.   Plaintiffs are informed and believe, and thereon allege, that defendant Joshua Luiz

22 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
24 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
25 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
26            165.   Plaintiffs are informed and believe, and thereon allege, that defendant Joy Lujan is

27 a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
28 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 2 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 3            166.   Plaintiffs are informed and believe and thereon allege that Defendant Brittany

 4 MacKay is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 5 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 6 Las Vegas, Nevada.
 7            167.   Plaintiffs are informed and believe, and thereon allege, that defendant Keri Maher

 8 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 9 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
10 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
11 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
12            168.   Plaintiffs are informed and believe and thereon allege that Defendant Christian

13 Marquez is a resident of the State of Nevada. Defendant has, through counsel, asserted or
14 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
15 Las Vegas, Nevada.
16            169.   Plaintiffs are informed and believe, and thereon allege, that defendant Traci

17 Marshall is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
18 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
19 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
20 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
21            170.   Plaintiffs are informed and believe, and thereon allege, that defendant Richard

22 Masucci is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
24 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
25 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
26            171.   Plaintiffs are informed and believe, and thereon allege, that defendant Lindsey

27 Mata is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
28 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v. MGM,
 2 filed January 4, 2018, in the Clark County District Court (“Clark County”), case
 3 number A-18-767288-C.
 4            172.   Plaintiffs are informed and believe, and thereon allege, that defendant Travis

 5 Matheson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
 6 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
 7 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
 8 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
 9 BC684047.
10            173.   Plaintiffs are informed and believe, and thereon allege, that defendant Steve McBee

11 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
12 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
13 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
14 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
15            174.   Plaintiffs are informed and believe and thereon allege that Defendant Denise

16 McClellan is a resident of the State of Nevada. Defendant has, through counsel, asserted or
17 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
18 Las Vegas, Nevada.
19            175.   Plaintiffs are informed and believe, and thereon allege, that defendant Lonnie

20 McCorvey is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
21 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
22 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
23 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
24 number BC684047.
25            176.   Plaintiffs are informed and believe, and thereon allege, that defendant Lynne

26 McCue is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
28 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v. MGM,
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 1 filed January 4, 2018, in the Clark County District Court (“Clark County”), case
 2 number A-18-767288-C.
 3            177.   Plaintiffs are informed and believe, and thereon allege, that defendant Tamika

 4 Mcgill is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 5 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 6 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 7 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 8            178.   Plaintiffs are informed and believe and thereon allege that Defendant Carmen

 9 McKinley is a resident of the State of Nevada. Defendant has, through counsel, asserted or
10 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
11 Las Vegas, Nevada.
12            179.   Plaintiffs are informed and believe, and thereon allege, that defendant Cleveland

13 McMath is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
14 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
15 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in McMath v. MGM, filed
16 November 15, 2017, in the Clark County District Court (“Clark County”), case
17 number A-17-764720-C.
18            180.   Plaintiffs are informed and believe, and thereon allege, that defendant Doreen

19 Medina is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            181.   Plaintiffs are informed and believe and thereon allege that Defendant Treza

24 Mekhail is a resident of the State of Nevada. Defendant has, through counsel, asserted or
25 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
26 Las Vegas, Nevada.
27            182.   Plaintiffs are informed and believe, and thereon allege, that defendant Paige

28 Melanson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
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 1 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
 2 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v.
 3 MGM, filed January 4, 2018, in the Clark County District Court (“Clark County”), case
 4 number A-18-767288-C.
 5            183.   Plaintiffs are informed and believe, and thereon allege, that defendant Rosemarie

 6 Melanson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
 7 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
 8 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v.
 9 MGM, filed January 4, 2018, in the Clark County District Court (“Clark County”), case
10 number A-18-767288-C.
11            184.   Plaintiffs are informed and believe, and thereon allege, that defendant Stephanie

12 Melanson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
13 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
14 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v.
15 MGM, filed January 4, 2018, in the Clark County District Court (“Clark County”), case
16 number A-18-767288-C.
17            185.   Plaintiffs are informed and believe, and thereon allege, that defendant Stephen

18 Melanson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
19 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
20 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v.
21 MGM, filed January 4, 2018, in the Clark County District Court (“Clark County”), case
22 number A-18-767288-C.
23            186.   Plaintiffs are informed and believe, and thereon allege that on October 1, 2017,

24 decedent Austin Meyer, was a resident of the State of Nevada. Plaintiffs are informed and believe
25 and thereon allege that Defendant, the Estate of Austin Meyer, has, through counsel, made claims
26 against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada, or,
27 alternatively, has indicated an intent to make such claims in the future (such as by way of the
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 1 filing of a separate lawsuit – now dismissed, by way of a letter of representation of counsel, or by
 2 way of an evidence preservation letter from counsel).
 3            187.   Plaintiffs are informed and believe, and thereon allege, that defendant Romeo

 4 Meyer is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 5 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 6 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 7 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 8            188.   Plaintiffs are informed and believe, and thereon allege, that defendant Robert

 9 Miller is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
12 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
13            189.   Plaintiffs are informed and believe, and thereon allege, that defendant Phylyssa

14 Montoya is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
17 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
18            190.   Plaintiffs are informed and believe, and thereon allege, that defendant Alyssa

19 Moore is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            191.   Plaintiffs are informed and believe and thereon allege that Defendant Katrina

24 Morgan is a resident of the State of Nevada. Defendant has, through counsel, asserted or
25 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
26 Las Vegas, Nevada.
27            192.   Plaintiffs are informed and believe, and thereon allege, that defendant Shancela

28 Myers is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
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 1 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 2 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 3 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 4            193.   Plaintiffs are informed and believe, and thereon allege, that defendant Marirose

 5 Naing is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 6 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 7 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 8 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 9            194.   Plaintiffs are informed and believe, and thereon allege, that defendant Anthony

10 Don E. Noarbe is a resident of the State of Nevada. Defendant has previously filed a lawsuit
11 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
12 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in
13 Abraham, et al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”),
14 case number BC684047.
15            195.   Plaintiffs are informed and believe, and thereon allege, that defendant Amber

16 Norcia is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
17 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
18 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
19 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
20            196.   Plaintiffs are informed and believe and thereon allege that Defendant Elsa Nunez is

21 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
22 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
23            197.   Plaintiffs are informed and believe, and thereon allege, that defendant Rose

24 O’Toole is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
25 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
26 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
27 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
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 1            198.   Plaintiffs are informed and believe, and thereon allege, that defendant Kuulei Otis

 2 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            199.   Plaintiffs are informed and believe and thereon allege that Defendant Stacie Owens

 7 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 8 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 9 Nevada.
10            200.   Plaintiffs are informed and believe and thereon allege that Defendant Chad Packard

11 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
12 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
13 Nevada.
14            201.   Plaintiffs are informed and believe, and thereon allege, that defendant Kaycee Paul

15 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
16 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
17 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
18 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
19            202.   Plaintiffs are informed and believe, and thereon allege, that defendant Elisa Perez is

20 a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
21 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
22 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
23 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
24            203.   Plaintiffs are informed and believe, and thereon allege, that defendant Angela

25 Marie Perry is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
26 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
27 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
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 1 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
 2 number BC684047.
 3            204.   Plaintiffs are informed and believe, and thereon allege, that defendant Jeremy

 4 Pickett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 5 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 6 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 7 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 8            205.   Plaintiffs are informed and believe, and thereon allege, that defendant Jose Plaza is

 9 a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
12 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
13            206.   Plaintiffs are informed and believe, and thereon allege, that defendant Mackenzie

14 Pluta is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
17 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
18            207.   Plaintiffs are informed and believe, and thereon allege, that defendant Darrian

19 Porter is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            208.   Plaintiffs are informed and believe and thereon allege that Defendant Laura A.

24 Puglia is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
25 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
26 Nevada.
27            209.   Plaintiffs are informed and believe, and thereon allege, that defendant Karmjit Raju

28 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
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 1 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 2 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 3 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 4            210.   Plaintiffs are informed and believe and thereon allege that Defendant Jasmine Rein

 5 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 6 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 7 Nevada.
 8            211.   Plaintiffs are informed and believe, and thereon allege, that defendant Stanley

 9 Rendon is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Spencer, et al. v. Paddock,
12 filed October 17, 2017, in Los Angeles Superior Court (“LASC”), case number BC680065.
13            212.   Plaintiffs are informed and believe and thereon allege that Defendant Lea

14 Richmond is a resident of the State of Nevada. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            213.   Plaintiffs are informed and believe, and thereon allege, that defendant Israel Rivera

18 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
19 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
20 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
21 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
22            214.   Plaintiffs are informed and believe and thereon allege that Defendant Tonia

23 Rocheleau is a resident of the State of Nevada. Defendant has, through counsel, asserted or
24 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
25 Las Vegas, Nevada.
26            215.   Plaintiffs are informed and believe and thereon allege that Defendant Michael

27 Rolland is a resident of the State of Nevada. Defendant has, through counsel, asserted or
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 1 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 2 Las Vegas, Nevada.
 3            216.   Plaintiffs are informed and believe and thereon allege that Defendant Mark Russell

 4 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 5 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 6 Nevada.
 7            217.   Plaintiffs are informed and believe, and thereon allege, that defendant Vincent

 8 Sager is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 9 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
10 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
11 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
12            218.   Plaintiffs are informed and believe and thereon allege that Defendant Christopher

13 Salinas is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
14 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
15 Nevada.
16            219.   Plaintiffs are informed and believe, and thereon allege, that defendant Lenea

17 Sampson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
18 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
19 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Sampson v. MGM, filed
20 November 15, 2017, in the Clark County District Court (“Clark County”), case
21 number A-17-764733-C.
22            220.   Plaintiffs are informed and believe and thereon allege that Defendant Alyssa Sands

23 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
24 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
25 Nevada.
26            221.   Plaintiffs are informed and believe, and thereon allege, that defendant Joseph Sartin

27 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
28 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 2 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 3            222.   Plaintiffs are informed and believe, and thereon allege, that defendant Sarah

 4 Scarlett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 5 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 6 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
 7 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
 8            223.   Plaintiffs are informed and believe, and thereon allege, that defendant Shawn

 9 Scarlett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
12 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
13            224.   Plaintiffs are informed and believe, and thereon allege, that defendant Shaylenne

14 Scarlett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
17 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
18            225.   Plaintiffs are informed and believe and thereon allege that Defendant Kim Schmitz

19 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
20 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
21 Nevada.
22            226.   Plaintiffs are informed and believe and thereon allege that Defendant Alison

23 Sheehe is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
24 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
25 Nevada.
26            227.   Plaintiffs are informed and believe, and thereon allege, that defendant Christopher

27 Shuemaker is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
28 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
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 1 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
 2 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
 3 BC684047.
 4            228.   Plaintiffs are informed and believe, and thereon allege, that defendant Breanna

 5 Skagen is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 6 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 7 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
 8 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
 9            229.   Plaintiffs are informed and believe and thereon allege that Defendant Jennifer Skoff

10 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
11 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            230.   Plaintiffs are informed and believe, and thereon allege, that defendant Cheyenne

14 Sloan is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v. MGM,
17 filed January 4, 2018, in the Clark County District Court (“Clark County”), case
18 number A-18-767288-C.
19            231.   Plaintiffs are informed and believe and thereon allege that Defendant Eden Smith is

20 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
21 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
22            232.   Plaintiffs are informed and believe, and thereon allege, that defendant Jasper Smith

23 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
24 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
25 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
26 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
27            233.   Plaintiffs are informed and believe, and thereon allege, that defendant Yvonne

28 Smith is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
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 1 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 2 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 3 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 4            234.   Plaintiffs are informed and believe and thereon allege that Defendant Martin

 5 Solano is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
 6 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 7 Nevada.
 8            235.   Plaintiffs are informed and believe, and thereon allege, that defendant Shelby

 9 Stalker is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v. MGM,
12 filed January 4, 2018, in the Clark County District Court (“Clark County”), case
13 number A-18-767288-C.
14            236.   Plaintiffs are informed and believe and thereon allege that Defendant Chris Stewart

15 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
16 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
17 Nevada.
18            237.   Plaintiffs are informed and believe, and thereon allege, that defendant Gregory

19 Tavernite is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            238.   Plaintiffs are informed and believe and thereon allege that Defendant Sam Taylor is

24 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
25 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
26            239.   Plaintiffs are informed and believe, and thereon allege, that defendant Wendy

27 Taylor-Hill is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
28 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
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 1 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
 2 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
 3 BC684047.
 4            240.   Plaintiffs are informed and believe, and thereon allege, that defendant Reginald

 5 Tharps is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 6 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 7 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 8 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 9            241.   Plaintiffs are informed and believe and thereon allege that Defendant Christina

10 Thebeau is a resident of the State of Nevada. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            242.   Plaintiffs are informed and believe, and thereon allege, that defendant David W.

14 Theriault is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
17 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
18            243.   Plaintiffs are informed and believe, and thereon allege, that defendant Breyana

19 Thomas is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            244.   Plaintiffs are informed and believe, and thereon allege, that defendant Gabrielle

24 Thomas is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
25 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
26 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
27 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
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 1            245.   Plaintiffs are informed and believe, and thereon allege, that defendant Savannah

 2 Thomas is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
 5 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
 6            246.   Plaintiffs are informed and believe, and thereon allege, that defendant Steven

 7 Thome is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 8 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 9 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
10 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
11            247.   Plaintiffs are informed and believe, and thereon allege, that defendant Alva Bruce

12 Tilley is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
15 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
16            248.   Plaintiffs are informed and believe and thereon allege that Defendant Mariya Toro

17 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
18 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
19 Nevada.
20            249.   Plaintiffs are informed and believe, and thereon allege, that defendant Kathryn

21 Tressler is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
22 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
23 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Tressler v. MGM, filed
24 November 15, 2017, in the Clark County District Court (“Clark County”), case
25 number A-17-764722-C.
26            250.   Plaintiffs are informed and believe, and thereon allege, that defendant Jennifer A.

27 Turner is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
28 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 2 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 3            251.   Plaintiffs are informed and believe and thereon allege that Defendant Deborah

 4 Urrizaga is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 5 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 6 Las Vegas, Nevada.
 7            252.   Plaintiffs are informed and believe, and thereon allege, that defendant William F.

 8 Vanderveer is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
 9 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
10 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
11 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
12 BC684047.
13            253.   Plaintiffs are informed and believe, and thereon allege, that defendant Frank

14 Vealencis is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
15 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
16 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
17 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
18 BC684047.
19            254.   Plaintiffs are informed and believe, and thereon allege, that defendant Tamara

20 Vealencis is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
21 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
22 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
23 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
24 BC684047.
25            255.   Plaintiffs are informed and believe and thereon allege that Defendant Regina Viola

26 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
27 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
28 Nevada.
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 1            256.   Plaintiffs are informed and believe, and thereon allege, that defendant Alyssa

 2 Walker is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            257.   Plaintiffs are informed and believe, and thereon allege, that defendant Tikiesha

 7 Wasp is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 8 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 9 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
10 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
11            258.   Plaintiffs are informed and believe, and thereon allege, that defendant Donald

12 Welty is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
15 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
16            259.   Plaintiffs are informed and believe, and thereon allege, that defendant Zachary

17 Wilcox is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
18 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
19 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
20 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
21            260.   Plaintiffs are informed and believe, and thereon allege, that defendant Jordan

22 Wilkinson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
23 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
24 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
25 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
26 BC684047.
27            261.   Plaintiffs are informed and believe, and thereon allege, that defendant Jeffery

28 Williams is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
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 1 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 2 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 3 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 4            262.   Plaintiffs are informed and believe, and thereon allege, that defendant Teracio

 5 Williams is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 6 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 7 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 8 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 9            263.   Plaintiffs are informed and believe, and thereon allege, that defendant Gary “Opie”

10 Allen Wise is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
11 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
12 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
13 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
14 BC684047.
15            264.   Plaintiffs are informed and believe, and thereon allege, that defendant John Yonts

16 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
17 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
18 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
19 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
20            265.   Plaintiffs are informed and believe and thereon allege that Defendant Jamie Zaleski

21 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
22 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
23 Nevada.
24            266.   Plaintiffs are informed and believe and thereon allege that Defendant Janet

25 Zmyewski is a resident of the State of Nevada. Defendant has, through counsel, asserted or
26 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
27 Las Vegas, Nevada.
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 1            267.   Plaintiffs are informed and believe and thereon allege that Defendant Thomas

 2 Zmyewski is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            268.   Plaintiffs are informed and believe and thereon allege that Defendant Essence

 6 Abner is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            269.   Plaintiffs are informed and believe and thereon allege that Defendant Allen Afshari

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            270.   Plaintiffs are informed and believe and thereon allege that Defendant Rae N.

14 Aguayo is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            271.   Plaintiffs are informed and believe and thereon allege that Defendant Khaled

18 Ahmed is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            272.   Plaintiffs are informed and believe and thereon allege that Defendant Nikki Renee

22 Ann Alirez is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            273.   Plaintiffs are informed and believe and thereon allege that Defendant Nadia Allie is

26 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            274.   Plaintiffs are informed and believe and thereon allege that Defendant Frank

 2 Michael Anderson III is a citizen of the State of Nevada, County of Clark. Defendant has, through
 3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
 4 shooting incident in Las Vegas, Nevada.
 5            275.   Plaintiffs are informed and believe and thereon allege that Defendant Trina

 6 Andrade-Kwist is a citizen of the State of Nevada, County of Clark. Defendant has, through
 7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
 8 shooting incident in Las Vegas, Nevada.
 9            276.   Plaintiffs are informed and believe and thereon allege that Defendant Cassidy

10 Andreason is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            277.   Plaintiffs are informed and believe and thereon allege that Defendant Jennifer

14 Arellanes is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            278.   Plaintiffs are informed and believe and thereon allege that Defendant Samanta

18 Arjune is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            279.   Plaintiffs are informed and believe and thereon allege that Defendant Andrew

22 Ayala is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            280.   Plaintiffs are informed and believe and thereon allege that Defendant Joseph l.

26 Balas is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
27 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
28 Nevada.
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 1            281.   Plaintiffs are informed and believe and thereon allege that Defendant Tanya

 2 Banuelos is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            282.   Plaintiffs are informed and believe and thereon allege that Defendant Audrey

 6 Bareham is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            283.   Plaintiffs are informed and believe and thereon allege that Defendant Kyle Basom

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            284.   Plaintiffs are informed and believe and thereon allege that Defendant Robert Alton

14 Beaird is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            285.   Plaintiffs are informed and believe and thereon allege that Defendant Antonyo Bell

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            286.   Plaintiffs are informed and believe and thereon allege that Defendant Wendy Marie

22 Benford is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            287.   Plaintiffs are informed and believe and thereon allege that Defendant Cardell

26 Benson Jr. is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            288.   Plaintiffs are informed and believe and thereon allege that Defendant Damaen

 2 Bentley is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 3 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            289.   Plaintiffs are informed and believe and thereon allege that Defendant Malcolm

 6 Bissember is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            290.   Plaintiffs are informed and believe and thereon allege that Defendant Ed Boucher is

10 a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
11 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
12            291.   Plaintiffs are informed and believe and thereon allege that Defendant Jenna Boyer

13 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
14 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
15 Las Vegas, Nevada.
16            292.   Plaintiffs are informed and believe and thereon allege that Defendant Fillise Boykin

17 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
18 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
19 Las Vegas, Nevada.
20            293.   Plaintiffs are informed and believe and thereon allege that Defendant Tia Boykin is

21 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
22 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
23 Las Vegas, Nevada.
24            294.   Plaintiffs are informed and believe and thereon allege that Defendant Carrie

25 Allmen Bradshaw is a citizen of the State of Nevada, County of Clark. Defendant has, through
26 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
27 shooting incident in Las Vegas, Nevada.
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 1            295.   Plaintiffs are informed and believe and thereon allege that Defendant Jocelyn

 2 Brady is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            296.   Plaintiffs are informed and believe and thereon allege that Defendant Nickee

 6 Branham-Skoff is a citizen of the State of Nevada, County of Clark. Defendant has, through
 7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
 8 shooting incident in Las Vegas, Nevada.
 9            297.   Plaintiffs are informed and believe and thereon allege that Defendant Robert J.

10 Brickman II is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            298.   Plaintiffs are informed and believe and thereon allege that Defendant Bill Bringold

14 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            299.   Plaintiffs are informed and believe and thereon allege that Defendant Nicholas

18 Bronas is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            300.   Plaintiffs are informed and believe and thereon allege that Defendant Gregory

22 Brown is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            301.   Plaintiffs are informed and believe and thereon allege that Defendant Brett

26 Bruckner is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            302.   Plaintiffs are informed and believe and thereon allege that Defendant Celia

 2 Brunghurst is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            303.   Plaintiffs are informed and believe and thereon allege that Defendant Elijah

 6 Brunghurst is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            304.   Plaintiffs are informed and believe and thereon allege that Defendant Jayceon

10 Brunghurst is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            305.   Plaintiffs are informed and believe and thereon allege that Defendant Regina Bui is

14 a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
15 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
16            306.   Plaintiffs are informed and believe and thereon allege that Defendant David Lynn

17 Bunch is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
18 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
19 incident in Las Vegas, Nevada.
20            307.   Plaintiffs are informed and believe and thereon allege that Defendant Walter Burch

21 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
22 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
23 Las Vegas, Nevada.
24            308.   Plaintiffs are informed and believe and thereon allege that Defendant Kayla Burdo

25 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
26 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
27 Las Vegas, Nevada.
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 1            309.   Plaintiffs are informed and believe and thereon allege that Defendant Geroge

 2 Burgard is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            310.   Plaintiffs are informed and believe and thereon allege that Defendant Zachary

 6 Burkes is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            311.   Plaintiffs are informed and believe and thereon allege that Defendant Shanna

10 Burrell is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            312.   Plaintiffs are informed and believe and thereon allege that Defendant Samuel

14 Cabasag is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            313.   Plaintiffs are informed and believe and thereon allege that Defendant Russell

18 Cahoy is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            314.   Plaintiffs are informed and believe and thereon allege that Defendant Nicholas

22 Joseph Cain-Casey is a citizen of the State of Nevada, County of Clark. Defendant has, through
23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
24 shooting incident in Las Vegas, Nevada.
25            315.   Plaintiffs are informed and believe and thereon allege that Defendant Jamie

26 Calvillo is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            316.   Plaintiffs are informed and believe and thereon allege that Defendant Ben Carey is

 2 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            317.   Plaintiffs are informed and believe and thereon allege that Defendant Christine

 6 Caria is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 7 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            318.   Plaintiffs are informed and believe and thereon allege that Defendant Janice

10 Carone-Howard is a citizen of the State of Nevada, County of Clark. Defendant has, through
11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
12 shooting incident in Las Vegas, Nevada.
13            319.   Plaintiffs are informed and believe and thereon allege that Defendant Deonna

14 Carter is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
15 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            320.   Plaintiffs are informed and believe and thereon allege that Defendant Anthony

18 Cavallaro is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            321.   Plaintiffs are informed and believe and thereon allege that Defendant Walter M.

22 Centeno is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            322.   Plaintiffs are informed and believe and thereon allege that Defendant Angelica

26 Cervantes is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            323.   Plaintiffs are informed and believe and thereon allege that Defendant Anjenette

 2 Cheney is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            324.   Plaintiffs are informed and believe and thereon allege that Defendant Penny

 6 Chenier is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            325.   Plaintiffs are informed and believe and thereon allege that Defendant Diane

10 Christian is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            326.   Plaintiffs are informed and believe and thereon allege that Defendant Austin

14 Christiansen is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            327.   Plaintiffs are informed and believe and thereon allege that Defendant Ashley

18 Bernard Christmas is a citizen of the State of Nevada, County of Clark. Defendant has, through
19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
20 shooting incident in Las Vegas, Nevada.
21            328.   Plaintiffs are informed and believe and thereon allege that Defendant Manuel

22 Cigarroa is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            329.   Plaintiffs are informed and believe and thereon allege that Defendant Grace Claros

26 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            330.   Plaintiffs are informed and believe and thereon allege that Defendant Jermaine

 2 Colquitt is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            331.   Plaintiffs are informed and believe and thereon allege that Defendant Glen

 6 Coonfield is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            332.   Plaintiffs are informed and believe and thereon allege that Defendant Diana Corradi

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            333.   Plaintiffs are informed and believe and thereon allege that Defendant Teri Craney is

14 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            334.   Plaintiffs are informed and believe and thereon allege that Defendant Stephen

18 Crawford is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            335.   Plaintiffs are informed and believe and thereon allege that Defendant Justin Cregar

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            336.   Plaintiffs are informed and believe and thereon allege that Defendant Anthony

26 Crespin is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            337.   Plaintiffs are informed and believe and thereon allege that Defendant Evelyn Crisp

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            338.   Plaintiffs are informed and believe and thereon allege that Defendant Jasper Cross

 6 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            339.   Plaintiffs are informed and believe and thereon allege that Defendant John W.

10 Crowe Jr. is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            340.   Plaintiffs are informed and believe and thereon allege that Defendant Calli Dee

14 Curry is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            341.   Plaintiffs are informed and believe and thereon allege that Defendant Rutia Curry is

18 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            342.   Plaintiffs are informed and believe and thereon allege that Defendant Kinga

22 Dajbukat is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            343.   Plaintiffs are informed and believe and thereon allege that Defendant Latief Daniels

26 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            344.   Plaintiffs are informed and believe and thereon allege that Defendant Juanitta

 2 Darlynn is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            345.   Plaintiffs are informed and believe and thereon allege that Defendant Walter D.

 6 Davenport is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            346.   Plaintiffs are informed and believe and thereon allege that Defendant Carletta

10 Davis is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            347.   Plaintiffs are informed and believe and thereon allege that Defendant Diane Davis

14 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            348.   Plaintiffs are informed and believe and thereon allege that Defendant Nicole Davis

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            349.   Plaintiffs are informed and believe and thereon allege that Defendant Quintin Davis

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            350.   Plaintiffs are informed and believe and thereon allege that Defendant William

26 Zenon De Armas is a citizen of the State of Nevada, County of Clark. Defendant has, through
27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
28 shooting incident in Las Vegas, Nevada.
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 1            351.   Plaintiffs are informed and believe and thereon allege that Defendant Krystalyn

 2 Desoto is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            352.   Plaintiffs are informed and believe and thereon allege that Defendant Alfred

 6 Devault is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            353.   Plaintiffs are informed and believe and thereon allege that Defendant Cleveland

10 Dickerson is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            354.   Plaintiffs are informed and believe and thereon allege that Defendant Juanita

14 Dillard is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            355.   Plaintiffs are informed and believe and thereon allege that Defendant Katrina

18 Dimacali is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            356.   Plaintiffs are informed and believe and thereon allege that Defendant David Dogan

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            357.   Plaintiffs are informed and believe and thereon allege that Defendant Lisa Ann

26 Lelanie Domen is a citizen of the State of Nevada, County of Clark. Defendant has, through
27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
28 shooting incident in Las Vegas, Nevada.
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 1            358.   Plaintiffs are informed and believe and thereon allege that Defendant Heather E.

 2 Donat is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            359.   Plaintiffs are informed and believe and thereon allege that Defendant Liliana Donis

 6 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            360.   Plaintiffs are informed and believe and thereon allege that Defendant Jaquashia

10 Douglas is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            361.   Plaintiffs are informed and believe and thereon allege that Defendant Laureen

14 Dright is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
15 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            362.   Plaintiffs are informed and believe and thereon allege that Defendant Cynthia

18 Michelle Duarte is a citizen of the State of Nevada, County of Clark. Defendant has, through
19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
20 shooting incident in Las Vegas, Nevada.
21            363.   Plaintiffs are informed and believe and thereon allege that Defendant Cynthia

22 Eaglin is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            364.   Plaintiffs are informed and believe and thereon allege that Defendant Arthur T. Earl

26 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            365.   Plaintiffs are informed and believe and thereon allege that Defendant Chris

 2 Eastman is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            366.   Plaintiffs are informed and believe and thereon allege that Defendant Jennifer

 6 Eckmann is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            367.   Plaintiffs are informed and believe and thereon allege that Defendant Tijuana

10 Edwards is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            368.   Plaintiffs are informed and believe and thereon allege that Defendant Damian K.

14 Einbinder is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            369.   Plaintiffs are informed and believe and thereon allege that Defendant Salofiitu

18 Emanuele is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            370.   Plaintiffs are informed and believe, and thereon allege, that defendant Heidi

22 Farnam is a citizen of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently dismissed) against one or more of the Plaintiffs, asserting claims arising from the
24 October 1, 2017, shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit
25 Abraham, et al. v. MGM Resorts Int’l, et al., filed November 20, 2017, in the Los Angeles
26 Superior Court (“LASC”), case number BC684047, Plaintiffs are informed and believe that
27 Defendant is a citizen of the State of Nevada.
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 1            371.   Plaintiffs are informed and believe and thereon allege that Defendant Laughton Fell

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            372.   Plaintiffs are informed and believe and thereon allege that Defendant Joshua

 6 Fenoglia is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            373.   Plaintiffs are informed and believe and thereon allege that Defendant Clarence

10 Fisher is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            374.   Plaintiffs are informed and believe and thereon allege that Defendant Laura Fiston

14 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            375.   Plaintiffs are informed and believe and thereon allege that Defendant Precious

18 Flowers is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            376.   Plaintiffs are informed and believe and thereon allege that Defendant Evarick Ford

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            377.   Plaintiffs are informed and believe and thereon allege that Defendant Jason A. Ford

26 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            378.   Plaintiffs are informed and believe and thereon allege that Defendant Mindy P.

 2 Foster is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            379.   Plaintiffs are informed and believe and thereon allege that Defendant William

 6 Fountain is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            380.   Plaintiffs are informed and believe and thereon allege that Defendant Gerald

10 Fowler is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            381.   Plaintiffs are informed and believe and thereon allege that Defendant Matthew Fox

14 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
15 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            382.   Plaintiffs are informed and believe and thereon allege that Defendant Aileen R.

18 Franklyn is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            383.   Plaintiffs are informed and believe and thereon allege that Defendant Eric Fraser is

22 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            384.   Plaintiffs are informed and believe and thereon allege that Defendant Lashea

26 Frazier is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            385.   Plaintiffs are informed and believe and thereon allege that Defendant Nicole Lynn

 2 French is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 3 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            386.   Plaintiffs are informed and believe and thereon allege that Defendant Jeremy Frie is

 6 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            387.   Plaintiffs are informed and believe and thereon allege that Defendant Lisa Furman

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            388.   Plaintiffs are informed and believe and thereon allege that Defendant Michael

14 Galasso is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            389.   Plaintiffs are informed and believe and thereon allege that Defendant Bridgett

18 Galloway is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            390.   Plaintiffs are informed and believe and thereon allege that Defendant Mia Gantt is a

22 citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            391.   Plaintiffs are informed and believe and thereon allege that Defendant Frankie

26 Garcia is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            392.   Plaintiffs are informed and believe and thereon allege that Defendant Lisandra

 2 Garcia is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            393.   Plaintiffs are informed and believe and thereon allege that Defendant Jose A.

 6 Garduno is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            394.   Plaintiffs are informed and believe and thereon allege that Defendant Oliver

10 Garnica is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            395.   Plaintiffs are informed and believe and thereon allege that Defendant Paul George

14 Jr. is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
15 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            396.   Plaintiffs are informed and believe and thereon allege that Defendant Charmaine

18 Germany is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            397.   Plaintiffs are informed and believe and thereon allege that Defendant Thomas

22 Geschrey is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            398.   Plaintiffs are informed and believe and thereon allege that Defendant Selam

26 Ghirmay is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            399.   Plaintiffs are informed and believe and thereon allege that Defendant Erika

 2 Giesecke is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            400.   Plaintiffs are informed and believe and thereon allege that Defendant Stephen Giles

 6 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            401.   Plaintiffs are informed and believe and thereon allege that Defendant Atalie

10 Gillison is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
11 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            402.   Plaintiffs are informed and believe and thereon allege that Defendant Barbara J.

14 Godron is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
15 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            403.   Plaintiffs are informed and believe and thereon allege that Defendant Del Golden is

18 a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
19 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
20            404.   Plaintiffs are informed and believe and thereon allege that Defendant Keosha

21 Goldman is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
22 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
23 Las Vegas, Nevada.
24            405.   Plaintiffs are informed and believe and thereon allege that Defendant Avery

25 Goldston is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
26 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
27 incident in Las Vegas, Nevada.
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 1            406.   Plaintiffs are informed and believe and thereon allege that Defendant Natalie

 2 Bridges Goodrum is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            407.   Plaintiffs are informed and believe and thereon allege that Defendant Tracy L.

 6 Gorman is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            408.   Plaintiffs are informed and believe and thereon allege that Defendant Cheryl Grady

10 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
11 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            409.   Plaintiffs are informed and believe and thereon allege that Defendant Melvin Grant

14 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            410.   Plaintiffs are informed and believe and thereon allege that Defendant Katrina

18 Graves is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            411.   Plaintiffs are informed and believe and thereon allege that Defendant Tawny Gray

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            412.   Plaintiffs are informed and believe and thereon allege that Defendant Mario

26 Grayson is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            413.   Plaintiffs are informed and believe and thereon allege that Defendant Deanna

 2 Griese is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 3 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            414.   Plaintiffs are informed and believe and thereon allege that Defendant Kimberly

 6 Griffis is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            415.   Plaintiffs are informed and believe and thereon allege that Defendant Rudy Guarino

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            416.   Plaintiffs are informed and believe and thereon allege that Defendant Joel D.

14 Guzman is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            417.   Plaintiffs are informed and believe and thereon allege that Defendant Leo Hairston

18 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
19 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            418.   Plaintiffs are informed and believe and thereon allege that Defendant Martinez Hall

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            419.   Plaintiffs are informed and believe and thereon allege that Defendant Cody Wayne

26 Hansen is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            420.   Plaintiffs are informed and believe and thereon allege that Defendant Samantha

 2 Harb is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            421.   Plaintiffs are informed and believe and thereon allege that Defendant Alicia

 6 Harmon is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            422.   Plaintiffs are informed and believe and thereon allege that Defendant Derrick

10 Harris is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
11 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            423.   Plaintiffs are informed and believe and thereon allege that Defendant Latiesha

14 Harris is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
15 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            424.   Plaintiffs are informed and believe and thereon allege that Defendant Mandi Harris

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            425.   Plaintiffs are informed and believe and thereon allege that Defendant Stacey Harris

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            426.   Plaintiffs are informed and believe and thereon allege that Defendant Amir Hasan

26 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            427.   Plaintiffs are informed and believe and thereon allege that Defendant Tara Hastings

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            428.   Plaintiffs are informed and believe and thereon allege that Defendant Martin

 6 Hathcock is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            429.   Plaintiffs are informed and believe and thereon allege that Defendant Edward R.

10 Hazen is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            430.   Plaintiffs are informed and believe and thereon allege that Defendant Sean Healy is

14 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            431.   Plaintiffs are informed and believe and thereon allege that Defendant John Hefley

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            432.   Plaintiffs are informed and believe and thereon allege that Defendant Adalgisa

22 Henning is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            433.   Plaintiffs are informed and believe and thereon allege that Defendant Sumer

26 Henning is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            434.   Plaintiffs are informed and believe and thereon allege that Defendant Damian

 2 Henry is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            435.   Plaintiffs are informed and believe and thereon allege that Defendant Sheela L.

 6 Henry is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 7 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            436.   Plaintiffs are informed and believe and thereon allege that Defendant Carly

10 Henschel is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            437.   Plaintiffs are informed and believe and thereon allege that Defendant Shauntel

14 Hibbitt is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
15 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            438.   Plaintiffs are informed and believe and thereon allege that Defendant Jordan Hicks

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            439.   Plaintiffs are informed and believe and thereon allege that Defendant Shannon

22 Hicks is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            440.   Plaintiffs are informed and believe and thereon allege that Defendant Susan Himes

26 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            441.   Plaintiffs are informed and believe and thereon allege that Defendant Eboney

 2 Nicole Hines is a citizen of the State of Nevada, County of Clark. Defendant has, through
 3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
 4 shooting incident in Las Vegas, Nevada.
 5            442.   Plaintiffs are informed and believe and thereon allege that Defendant Nathan

 6 Hinrichs is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            443.   Plaintiffs are informed and believe and thereon allege that Defendant Abigail

10 Hinton is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
11 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            444.   Plaintiffs are informed and believe and thereon allege that Defendant Adriana

14 Hinton is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
15 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            445.   Plaintiffs are informed and believe and thereon allege that Defendant Alexis Hinton

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            446.   Plaintiffs are informed and believe and thereon allege that Defendant Ambear

22 Hinton is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
23 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
24 Nevada.
25            447.   Plaintiffs are informed and believe and thereon allege that Defendant Rick Hinton

26 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
27 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
28 Nevada.
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 1            448.   Plaintiffs are informed and believe and thereon allege that Defendant Jennifer

 2 Hohnke is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 3 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            449.   Plaintiffs are informed and believe and thereon allege that Defendant Don

 6 Holbrook is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            450.   Plaintiffs are informed and believe and thereon allege that Defendant June Holdren

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            451.   Plaintiffs are informed and believe and thereon allege that Defendant Amber Holm

14 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            452.   Plaintiffs are informed and believe and thereon allege that Defendant Raven

18 Holmes is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            453.   Plaintiffs are informed and believe and thereon allege that Defendant Shaunte

22 Horton is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            454.   Plaintiffs are informed and believe and thereon allege that Defendant Abdirahman

26 Hosain is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            455.   Plaintiffs are informed and believe and thereon allege that Defendant Misty House

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            456.   Plaintiffs are informed and believe and thereon allege that Defendant Delose

 6 Howard is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            457.   Plaintiffs are informed and believe and thereon allege that Defendant Svetlana

10 Huey is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
11 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            458.   Plaintiffs are informed and believe and thereon allege that Defendant Britin C.

14 Hughes is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
15 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            459.   Plaintiffs are informed and believe and thereon allege that Defendant Steve

18 Hutchason is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            460.   Plaintiffs are informed and believe and thereon allege that Defendant Anthony

22 Isabel is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            461.   Plaintiffs are informed and believe and thereon allege that Defendant Devonta

26 Jackson is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            462.   Plaintiffs are informed and believe and thereon allege that Defendant John Jenkins

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            463.   Plaintiffs are informed and believe and thereon allege that Defendant Daviell

 6 Johnson is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            464.   Plaintiffs are informed and believe and thereon allege that Defendant Larontae

10 Johnson is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            465.   Plaintiffs are informed and believe and thereon allege that Defendant Malvin

14 Johnson is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            466.   Plaintiffs are informed and believe and thereon allege that Defendant Renae Jolley

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            467.   Plaintiffs are informed and believe and thereon allege that Defendant Joniqueka

22 Jones is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            468.   Plaintiffs are informed and believe and thereon allege that Defendant Lannetta

26 Jones is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
27 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
28 Nevada.
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 1            469.   Plaintiffs are informed and believe and thereon allege that Defendant Briana Joseph

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            470.   Plaintiffs are informed and believe and thereon allege that Defendant Juan Juarez is

 6 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            471.   Plaintiffs are informed and believe and thereon allege that Defendant John Julias is

10 a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
11 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
12            472.   Plaintiffs are informed and believe and thereon allege that Defendant Brandon

13 Kalaaukahi is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
14 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
15 incident in Las Vegas, Nevada.
16            473.   Plaintiffs are informed and believe and thereon allege that Defendant Ron Katz is a

17 citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
18 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
19 Las Vegas, Nevada.
20            474.   Plaintiffs are informed and believe and thereon allege that Defendant Waltkoya

21 Kayzee is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
22 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
23 incident in Las Vegas, Nevada.
24            475.   Plaintiffs are informed and believe and thereon allege that Defendant Heather Kerr

25 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
26 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
27 Las Vegas, Nevada.
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 1            476.   Plaintiffs are informed and believe and thereon allege that Defendant Joseph

 2 Kinder is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 3 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            477.   Plaintiffs are informed and believe and thereon allege that Defendant Tara King is a

 6 citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
 7 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
 8            478.   Plaintiffs are informed and believe and thereon allege that Defendant Richard

 9 Kingery is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
10 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
11 incident in Las Vegas, Nevada.
12            479.   Plaintiffs are informed and believe and thereon allege that Defendant Cynthia

13 Kitchens is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
14 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
15 incident in Las Vegas, Nevada.
16            480.   Plaintiffs are informed and believe and thereon allege that Defendant Joseph

17 Kocjan is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
18 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
19 incident in Las Vegas, Nevada.
20            481.   Plaintiffs are informed and believe and thereon allege that Defendant Ambriz

21 Ladson is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
22 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
23 incident in Las Vegas, Nevada.
24            482.   Plaintiffs are informed and believe and thereon allege that Defendant Miguel Lagos

25 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
26 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
27 Las Vegas, Nevada.
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 1            483.   Plaintiffs are informed and believe and thereon allege that Defendant Bradley Kent

 2 Lagro is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 3 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            484.   Plaintiffs are informed and believe and thereon allege that Defendant Martin L.

 6 Landers is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            485.   Plaintiffs are informed and believe and thereon allege that Defendant Quentin

10 Lathan is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            486.   Plaintiffs are informed and believe and thereon allege that Defendant Michael

14 Leahy is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            487.   Plaintiffs are informed and believe and thereon allege that Defendant Chloe Lebo is

18 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            488.   Plaintiffs are informed and believe and thereon allege that Defendant Kathryn

22 Renee Leckie is a citizen of the State of Nevada, County of Clark. Defendant has, through
23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
24 shooting incident in Las Vegas, Nevada.
25            489.   Plaintiffs are informed and believe and thereon allege that Defendant Maxime

26 Lecocq is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            490.   Plaintiffs are informed and believe and thereon allege that Defendant Mhonai Lee

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            491.   Plaintiffs are informed and believe and thereon allege that Defendant Yvonne Lee

 6 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            492.   Plaintiffs are informed and believe and thereon allege that Defendant Aitor Lejardi

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            493.   Plaintiffs are informed and believe and thereon allege that Defendant Crystal

14 Lejardi is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            494.   Plaintiffs are informed and believe and thereon allege that Defendant Tara

18 Lemmons is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            495.   Plaintiffs are informed and believe and thereon allege that Defendant Alicia

22 Leonard is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            496.   Plaintiffs are informed and believe and thereon allege that Defendant Samuel Leuty

26 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            497.   Plaintiffs are informed and believe and thereon allege that Defendant Ashley

 2 Breanna Lewis is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            498.   Plaintiffs are informed and believe and thereon allege that Defendant Carolyn

 6 Lizama is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 7 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            499.   Plaintiffs are informed and believe and thereon allege that Defendant Corinne

10 Lomas is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            500.   Plaintiffs are informed and believe and thereon allege that Defendant Eileen Lopez

14 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
15 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            501.   Plaintiffs are informed and believe and thereon allege that Defendant Jahaira Losey

18 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
19 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            502.   Plaintiffs are informed and believe and thereon allege that Defendant Zekiel Losey

22 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
23 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
24 Nevada.
25            503.   Plaintiffs are informed and believe and thereon allege that Defendant Jeremy

26 Lowery is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            504.   Plaintiffs are informed and believe and thereon allege that Defendant Nicole

 2 Luciano is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            505.   Plaintiffs are informed and believe and thereon allege that Defendant Kayla Macias

 6 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 7 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            506.   Plaintiffs are informed and believe and thereon allege that Defendant Cynthia

10 Maevers is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            507.   Plaintiffs are informed and believe and thereon allege that Defendant William

14 Maloney is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            508.   Plaintiffs are informed and believe and thereon allege that Defendant Eric Maltz is

18 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            509.   Plaintiffs are informed and believe and thereon allege that Defendant William

22 Manciano is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            510.   Plaintiffs are informed and believe and thereon allege that Defendant Michelle

26 Xani Mangibin is a citizen of the State of Nevada, County of Clark. Defendant has, through
27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
28 shooting incident in Las Vegas, Nevada.
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 1            511.   Plaintiffs are informed and believe and thereon allege that Defendant Shirley

 2 Manus is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            512.   Plaintiffs are informed and believe and thereon allege that Defendant Dashaun

 6 Marshall is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            513.   Plaintiffs are informed and believe and thereon allege that Defendant Donte

10 Marshall is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            514.   Plaintiffs are informed and believe and thereon allege that Defendant Holy Angel

14 Martinez is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            515.   Plaintiffs are informed and believe and thereon allege that Defendant Steven

18 Martinez is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            516.   Plaintiffs are informed and believe and thereon allege that Defendant Lana Mathis

22 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
23 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
24 Nevada.
25            517.   Plaintiffs are informed and believe and thereon allege that Defendant Monique

26 Maxey is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
27 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
28 Nevada.
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 1            518.   Plaintiffs are informed and believe and thereon allege that Defendant Jamie

 2 Maxwell is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            519.   Plaintiffs are informed and believe and thereon allege that Defendant Moussa

 6 Mboup is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            520.   Plaintiffs are informed and believe and thereon allege that Defendant Szilvia

10 McBride is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            521.   Plaintiffs are informed and believe and thereon allege that Defendant Kemmy

14 McCoy is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
15 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            522.   Plaintiffs are informed and believe and thereon allege that Defendant Jamonte

18 McCullar is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            523.   Plaintiffs are informed and believe and thereon allege that Defendant Shirley

22 McCurry is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            524.   Plaintiffs are informed and believe and thereon allege that Defendant Tashara

26 McMullen is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            525.   Plaintiffs are informed and believe and thereon allege that Defendant Rajai J.

 2 McNeilI is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            526.   Plaintiffs are informed and believe and thereon allege that Defendant Christian

 6 McQuown is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            527.   Plaintiffs are informed and believe and thereon allege that Defendant Jamie

10 Medeiros is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            528.   Plaintiffs are informed and believe and thereon allege that Defendant Jovannie

14 Mediano is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            529.   Plaintiffs are informed and believe and thereon allege that Defendant Kidada

18 Medina is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            530.   Plaintiffs are informed and believe and thereon allege that Defendant Laurel Meek

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            531.   Plaintiffs are informed and believe and thereon allege that Defendant Janette Mejia

26 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            532.   Plaintiffs are informed and believe and thereon allege that Defendant Joshua Mejia

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            533.   Plaintiffs are informed and believe and thereon allege that Defendant Ireri Mendez-

 6 Alvarez is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            534.   Plaintiffs are informed and believe and thereon allege that Defendant Jose

10 Menendez is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            535.   Plaintiffs are informed and believe and thereon allege that Defendant Darren

14 Merriweather is a citizen of the State of Nevada, County of Clark. Defendant has, through
15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
16 shooting incident in Las Vegas, Nevada.
17            536.   Plaintiffs are informed and believe and thereon allege that Defendant Vanessa

18 Michels is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            537.   Plaintiffs are informed and believe and thereon allege that Defendant Jarod

22 Mielcarek is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            538.   Plaintiffs are informed and believe and thereon allege that Defendant Jaza'na Miller

26 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            539.   Plaintiffs are informed and believe and thereon allege that Defendant Jazmia Miller

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            540.   Plaintiffs are informed and believe and thereon allege that Defendant LeVelle Mills

 6 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 7 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            541.   Plaintiffs are informed and believe and thereon allege that Defendant Kimani

10 Mitchell is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            542.   Plaintiffs are informed and believe and thereon allege that Defendant Lazaro Mont-

14 Ros is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted
15 or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident
16 in Las Vegas, Nevada.
17            543.   Plaintiffs are informed and believe and thereon allege that Defendant Markeith

18 Moore is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            544.   Plaintiffs are informed and believe and thereon allege that Defendant Darrin

22 Moreman is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            545.   Plaintiffs are informed and believe and thereon allege that Defendant Georgianne

26 Marie Morgan is a citizen of the State of Nevada, County of Clark. Defendant has, through
27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
28 shooting incident in Las Vegas, Nevada.
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 1            546.   Plaintiffs are informed and believe and thereon allege that Defendant Shakiera

 2 Morris is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            547.   Plaintiffs are informed and believe and thereon allege that Defendant

 6 Devonte-Amir Morrison is a citizen of the State of Nevada, County of Clark. Defendant has,
 7 through counsel, asserted or threatened to assert claims against Plaintiffs based upon the
 8 October 1, 2017, shooting incident in Las Vegas, Nevada.
 9            548.   Plaintiffs are informed and believe, and thereon allege, that defendant LaDarius

10 Morrison is a citizen of the State of Nevada. Defendant has previously filed a lawsuit (which was
11 subsequently dismissed) against one or more of the Plaintiffs, asserting claims arising from the
12 October 1, 2017, shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit
13 Abraham, et al. v. MGM Resorts Int’l, et al., filed November 20, 2017, in the Los Angeles
14 Superior Court (“LASC”), case number BC684047, Plaintiffs are informed and believe that
15 Defendant is a citizen of the State of Nevada.
16            549.   Plaintiffs are informed and believe and thereon allege that Defendant Venus

17 Mosley is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
18 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
19 incident in Las Vegas, Nevada.
20            550.   Plaintiffs are informed and believe and thereon allege that Defendant Kylie D.

21 Mulcahy is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
22 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
23 incident in Las Vegas, Nevada.
24            551.   Plaintiffs are informed and believe and thereon allege that Defendant Sean P.

25 Mullaly is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
26 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
27 incident in Las Vegas, Nevada.
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 1            552.   Plaintiffs are informed and believe and thereon allege that Defendant Mia Mumford

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            553.   Plaintiffs are informed and believe and thereon allege that Defendant Esther Munoz

 6 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            554.   Plaintiffs are informed and believe and thereon allege that Defendant DeAngelo

10 Murillo is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            555.   Plaintiffs are informed and believe and thereon allege that Defendant Ronald

14 Murray is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            556.   Plaintiffs are informed and believe and thereon allege that Defendant Riley

18 Musgrave is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            557.   Plaintiffs are informed and believe and thereon allege that Defendant Macy Myers

22 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
23 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
24 Nevada.
25            558.   Plaintiffs are informed and believe and thereon allege that Defendant Joan Myles is

26 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            559.   Plaintiffs are informed and believe and thereon allege that Defendant Mark Myszak

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            560.   Plaintiffs are informed and believe and thereon allege that Defendant Mohammad

 6 Nassar is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            561.   Plaintiffs are informed and believe and thereon allege that Defendant Gregory L.

10 Nelson is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            562.   Plaintiffs are informed and believe and thereon allege that Defendant Chayla

14 Nepote is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            563.   Plaintiffs are informed and believe and thereon allege that Defendant Sandy

18 Nguyen is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            564.   Plaintiffs are informed and believe and thereon allege that Defendant Annetta

22 Nicholson is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            565.   Plaintiffs are informed and believe and thereon allege that Defendant Lela Jean

26 Norton is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            566.   Plaintiffs are informed and believe and thereon allege that Defendant Toby

 2 Norwood is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            567.   Plaintiffs are informed and believe and thereon allege that Defendant Savanna

 6 Ochoa is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            568.   Plaintiffs are informed and believe and thereon allege that Defendant Mfalme Odie

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            569.   Plaintiffs are informed and believe and thereon allege that Defendant Alicia M.

14 Olive is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            570.   Plaintiffs are informed and believe and thereon allege that Defendant Jenna O'Neal

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            571.   Plaintiffs are informed and believe and thereon allege that Defendant Donald Orlan

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            572.   Plaintiffs are informed and believe and thereon allege that Defendant Annette

26 Orozco is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            573.   Plaintiffs are informed and believe and thereon allege that Defendant Noemi

 2 Orozco is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            574.   Plaintiffs are informed and believe and thereon allege that Defendant Victor

 6 Orschel is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            575.   Plaintiffs are informed and believe and thereon allege that Defendant Tanny Owens

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            576.   Plaintiffs are informed and believe and thereon allege that Defendant Joseph Pace

14 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
15 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            577.   Plaintiffs are informed and believe and thereon allege that Defendant Carlos Padilla

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            578.   Plaintiffs are informed and believe and thereon allege that Defendant Bacarri Page

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            579.   Plaintiffs are informed and believe and thereon allege that Defendant Bonnie

26 Palazzola is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            580.   Plaintiffs are informed and believe and thereon allege that Defendant Naomi

 2 Pantiru is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            581.   Plaintiffs are informed and believe and thereon allege that Defendant Neptali

 6 Paredes-Figueroa is a citizen of the State of Nevada, County of Clark. Defendant has, through
 7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
 8 shooting incident in Las Vegas, Nevada.
 9            582.   Plaintiffs are informed and believe and thereon allege that Defendant Chad Parisien

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            583.   Plaintiffs are informed and believe and thereon allege that Defendant Thomasina

14 Parker is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            584.   Plaintiffs are informed and believe and thereon allege that Defendant Yvette Parker

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            585.   Plaintiffs are informed and believe and thereon allege that Defendant Bridget

22 Parkington is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            586.   Plaintiffs are informed and believe and thereon allege that Defendant Brittney

26 Parkington is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            587.   Plaintiffs are informed and believe and thereon allege that Defendant Alina Parrish

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            588.   Plaintiffs are informed and believe and thereon allege that Defendant Michelle

 6 Pearson is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            589.   Plaintiffs are informed and believe and thereon allege that Defendant Christopher

10 C. Peirce is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            590.   Plaintiffs are informed and believe and thereon allege that Defendant James Pelz is

14 a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            591.   Plaintiffs are informed and believe and thereon allege that Defendant Kayla Perez

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            592.   Plaintiffs are informed and believe and thereon allege that Defendant Jeffrey

22 Perkins is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            593.   Plaintiffs are informed and believe and thereon allege that Defendant Durwin Perry

26 Jr. is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted
27 or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident
28 in Las Vegas, Nevada.
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 1            594.   Plaintiffs are informed and believe and thereon allege that Defendant Sharon

 2 Pettaway is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            595.   Plaintiffs are informed and believe and thereon allege that Defendant Celina Phem

 6 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            596.   Plaintiffs are informed and believe and thereon allege that Defendant Jeannetta

10 Polite is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            597.   Plaintiffs are informed and believe and thereon allege that Defendant Cory Polizzi

14 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            598.   Plaintiffs are informed and believe and thereon allege that Defendant Tyresha Polk

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            599.   Plaintiffs are informed and believe and thereon allege that Defendant Antonio

22 Ponciano is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            600.   Plaintiffs are informed and believe and thereon allege that Defendant Tiffany

26 Raecene Pope is a citizen of the State of Nevada, County of Clark. Defendant has, through
27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
28 shooting incident in Las Vegas, Nevada.
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 1            601.   Plaintiffs are informed and believe and thereon allege that Defendant Beatrice

 2 Potter is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            602.   Plaintiffs are informed and believe and thereon allege that Defendant David

 6 Preciado is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            603.   Plaintiffs are informed and believe and thereon allege that Defendant Maria

10 Preciado is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            604.   Plaintiffs are informed and believe and thereon allege that Defendant Drake

14 Pritchett is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            605.   Plaintiffs are informed and believe and thereon allege that Defendant Brittany Lynn

18 Quintero is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            606.   Plaintiffs are informed and believe and thereon allege that Defendant Rashida

22 Raines is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            607.   Plaintiffs are informed and believe and thereon allege that Defendant Ina Ramirez

26 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            608.   Plaintiffs are informed and believe and thereon allege that Defendant Maria

 2 Ramirez is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            609.   Plaintiffs are informed and believe and thereon allege that Defendant Rommel

 6 Ramos is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            610.   Plaintiffs are informed and believe and thereon allege that Defendant Jihad

10 Randolph is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            611.   Plaintiffs are informed and believe and thereon allege that Defendant Paulette

14 Raphael is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            612.   Plaintiffs are informed and believe and thereon allege that Defendant Oscar Rapio

18 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
19 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            613.   Plaintiffs are informed and believe and thereon allege that Defendant Lawrence

22 Raybuck is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            614.   Plaintiffs are informed and believe and thereon allege that Defendant Paula Jane

26 Reid is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            615.   Plaintiffs are informed and believe and thereon allege that Defendant Katherine

 2 Renfro is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            616.   Plaintiffs are informed and believe and thereon allege that Defendant Garland

 6 Reyes is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 7 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            617.   Plaintiffs are informed and believe and thereon allege that Defendant Kimberly

10 Richie is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            618.   Plaintiffs are informed and believe and thereon allege that Defendant Mike

14 Richmeier is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            619.   Plaintiffs are informed and believe and thereon allege that Defendant Chamika

18 Roberson is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            620.   Plaintiffs are informed and believe and thereon allege that Defendant Dontae Laroi

22 Robinson is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            621.   Plaintiffs are informed and believe and thereon allege that Defendant Margo

26 Robinson is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            622.   Plaintiffs are informed and believe and thereon allege that Defendant Josette Rocha

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            623.   Plaintiffs are informed and believe and thereon allege that Defendant Angelita F.

 6 Rodriguez is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            624.   Plaintiffs are informed and believe and thereon allege that Defendant Tonia Roland

10 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
11 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            625.   Plaintiffs are informed and believe and thereon allege that Defendant Janeann

14 Rollins is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            626.   Plaintiffs are informed and believe and thereon allege that Defendant Desiree

18 Rondeau is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            627.   Plaintiffs are informed and believe and thereon allege that Defendant Raquel Rooks

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            628.   Plaintiffs are informed and believe and thereon allege that Defendant Antawn Ross

26 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            629.   Plaintiffs are informed and believe and thereon allege that Defendant Tirrelle Ross

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            630.   Plaintiffs are informed and believe and thereon allege that Defendant Allan

 6 Rousseau is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            631.   Plaintiffs are informed and believe and thereon allege that Defendant Shirley

10 Ruelas is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            632.   Plaintiffs are informed and believe and thereon allege that Defendant Anthony

14 Rufo is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            633.   Plaintiffs are informed and believe and thereon allege that Defendant Steve Sagely

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            634.   Plaintiffs are informed and believe and thereon allege that Defendant Heather

22 Sallan is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
23 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
24 Nevada.
25            635.   Plaintiffs are informed and believe and thereon allege that Defendant Lisa Kim M.

26 Sammons is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            636.   Plaintiffs are informed and believe and thereon allege that Defendant Princess

 2 Santos is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 3 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            637.   Plaintiffs are informed and believe and thereon allege that Defendant Melissa

 6 Saucedo is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            638.   Plaintiffs are informed and believe and thereon allege that Defendant Katree

10 Saunders is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            639.   Plaintiffs are informed and believe and thereon allege that Defendant Alissa Savath

14 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            640.   Plaintiffs are informed and believe and thereon allege that Defendant Eugene

18 Schavers is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            641.   Plaintiffs are informed and believe and thereon allege that Defendant Gloria J.

22 Schryver is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            642.   Plaintiffs are informed and believe and thereon allege that Defendant Sara Beth

26 Schussler is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            643.   Plaintiffs are informed and believe and thereon allege that Defendant Roderick

 2 Rico Scott is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            644.   Plaintiffs are informed and believe and thereon allege that Defendant Sydney

 6 Shaver is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 7 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            645.   Plaintiffs are informed and believe and thereon allege that Defendant Corey Shipp

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            646.   Plaintiffs are informed and believe and thereon allege that Defendant Joe Shipp is a

14 citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            647.   Plaintiffs are informed and believe and thereon allege that Defendant Joyce Shipp

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            648.   Plaintiffs are informed and believe and thereon allege that Defendant Tamala

22 Siegel is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            649.   Plaintiffs are informed and believe and thereon allege that Defendant Johanna

26 Simeon is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            650.   Plaintiffs are informed and believe and thereon allege that Defendant Gary Eliot

 2 Simmons is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            651.   Plaintiffs are informed and believe and thereon allege that Defendant Justin E.

 6 Simmons is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            652.   Plaintiffs are informed and believe and thereon allege that Defendant Fleming

10 Smith III is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            653.   Plaintiffs are informed and believe and thereon allege that Defendant Calvin Smith

14 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
15 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            654.   Plaintiffs are informed and believe and thereon allege that Defendant Imelda Smith

18 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
19 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            655.   Plaintiffs are informed and believe and thereon allege that Defendant Iyuna Smith

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            656.   Plaintiffs are informed and believe and thereon allege that Defendant Joaneka

26 Smith is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            657.   Plaintiffs are informed and believe and thereon allege that Defendant Jolanda Smith

 2 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 3 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            658.   Plaintiffs are informed and believe and thereon allege that Defendant Levonne

 6 Smith is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 7 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            659.   Plaintiffs are informed and believe and thereon allege that Defendant Tina Smith is

10 a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
11 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
12            660.   Plaintiffs are informed and believe and thereon allege that Defendant Elizabeth

13 Socci is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
14 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
15 Nevada.
16            661.   Plaintiffs are informed and believe and thereon allege that Defendant Lisa Soininen

17 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
18 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
19 Nevada.
20            662.   Plaintiffs are informed and believe and thereon allege that Defendant Daysi M.

21 Solano is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
22 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
23 Nevada.
24            663.   Plaintiffs are informed and believe and thereon allege that Defendant Armando

25 Solis Jr. is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
26 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
27 Nevada.
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 1            664.   Plaintiffs are informed and believe and thereon allege that Defendant Armando

 2 Solis is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 3 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            665.   Plaintiffs are informed and believe and thereon allege that Defendant Steven

 6 Sonnenburg is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            666.   Plaintiffs are informed and believe and thereon allege that Defendant Karla Sorrosa

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            667.   Plaintiffs are informed and believe and thereon allege that Defendant Michelle

14 Souza is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
15 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            668.   Plaintiffs are informed and believe and thereon allege that Defendant Pasquale

18 Spano is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
19 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            669.   Plaintiffs are informed and believe and thereon allege that Defendant Ronika

22 Spears is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
23 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
24 Nevada.
25            670.   Plaintiffs are informed and believe and thereon allege that Defendant Sherwin

26 St. John is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            671.   Plaintiffs are informed and believe and thereon allege that Defendant Michael

 2 Staley is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 3 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            672.   Plaintiffs are informed and believe and thereon allege that Defendant Shannan

 6 Stearns is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            673.   Plaintiffs are informed and believe and thereon allege that Defendant Kenneth

10 Steward is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            674.   Plaintiffs are informed and believe and thereon allege that Defendant Clarence

14 Stockton is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            675.   Plaintiffs are informed and believe and thereon allege that Defendant Valerie Stout

18 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
19 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            676.   Plaintiffs are informed and believe and thereon allege that Defendant Vincent

22 Sullivan is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            677.   Plaintiffs are informed and believe and thereon allege that Defendant Lisa Sulvetta

26 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
27 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
28 Nevada.
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 1            678.   Plaintiffs are informed and believe and thereon allege that Defendant Jack

 2 Summerlin is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            679.   Plaintiffs are informed and believe and thereon allege that Defendant Shawna

 6 Sutton is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 7 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            680.   Plaintiffs are informed and believe and thereon allege that Defendant John Swayzer

10 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
11 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            681.   Plaintiffs are informed and believe and thereon allege that Defendant Larry Gordon

14 Swift is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            682.   Plaintiffs are informed and believe and thereon allege that Defendant Meron

18 Tadesse is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
19 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            683.   Plaintiffs are informed and believe and thereon allege that Defendant Shonte Talley

22 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            684.   Plaintiffs are informed and believe and thereon allege that Defendant Graciela

26 Tapia is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
27 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
28 Nevada.
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 1            685.   Plaintiffs are informed and believe and thereon allege that Defendant Betty Taylor

 2 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 3 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            686.   Plaintiffs are informed and believe and thereon allege that Defendant Lauren D.

 6 Taylor is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 7 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            687.   Plaintiffs are informed and believe and thereon allege that Defendant Kellie

10 Tederman is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            688.   Plaintiffs are informed and believe and thereon allege that Defendant Treasure

14 Tellis is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            689.   Plaintiffs are informed and believe and thereon allege that Defendant Diane Tharpe

18 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            690.   Plaintiffs are informed and believe and thereon allege that Defendant Christina

22 Thomas is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
23 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
24 Nevada.
25            691.   Plaintiffs are informed and believe and thereon allege that Defendant Karnesha

26 Thomas is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
27 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
28 Nevada.
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 1            692.   Plaintiffs are informed and believe and thereon allege that Defendant Bailey

 2 Thompson is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            693.   Plaintiffs are informed and believe and thereon allege that Defendant Keely

 6 Thompson is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            694.   Plaintiffs are informed and believe and thereon allege that Defendant Angela Todd

10 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            695.   Plaintiffs are informed and believe and thereon allege that Defendant Richard

14 Toffolla is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            696.   Plaintiffs are informed and believe and thereon allege that Defendant Todd Tomlin

18 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
19 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            697.   Plaintiffs are informed and believe and thereon allege that Defendant Rafael

22 Torregano is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            698.   Plaintiffs are informed and believe and thereon allege that Defendant Quincy

26 Torres is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            699.   Plaintiffs are informed and believe and thereon allege that Defendant Rosalia

 2 Torres is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 3 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            700.   Plaintiffs are informed and believe and thereon allege that Defendant Veronica

 6 Torres is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            701.   Plaintiffs are informed and believe and thereon allege that Defendant Jordan E.

10 Tremper is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            702.   Plaintiffs are informed and believe and thereon allege that Defendant Colin Trevino

14 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            703.   Plaintiffs are informed and believe and thereon allege that Defendant Francesca

18 Trujillo is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            704.   Plaintiffs are informed and believe and thereon allege that Defendant Isabella

22 Trujillo is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
23 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
24 Nevada.
25            705.   Plaintiffs are informed and believe and thereon allege that Defendant Samuel Lee

26 Trujillo is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            706.   Plaintiffs are informed and believe and thereon allege that Defendant Maryloc

 2 Trushel is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            707.   Plaintiffs are informed and believe and thereon allege that Defendant Tanisha

 6 Turner is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 7 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            708.   Plaintiffs are informed and believe and thereon allege that Defendant Janette A.

10 Uribe is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            709.   Plaintiffs are informed and believe and thereon allege that Defendant Sandra

14 Velasquez is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            710.   Plaintiffs are informed and believe and thereon allege that Defendant Edgar

18 Vicente is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
19 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            711.   Plaintiffs are informed and believe and thereon allege that Defendant Alma Delia

22 Villa is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            712.   Plaintiffs are informed and believe and thereon allege that Defendant Njeri Wade is

26 a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
27 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
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 1            713.   Plaintiffs are informed and believe and thereon allege that Defendant Autumn

 2 Wake is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 3 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            714.   Plaintiffs are informed and believe and thereon allege that Defendant Imelda

 6 Walker is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
 7 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            715.   Plaintiffs are informed and believe and thereon allege that Defendant Kamia

10 Walker is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
11 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            716.   Plaintiffs are informed and believe and thereon allege that Defendant Lori Waller is

14 a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
15 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
16            717.   Plaintiffs are informed and believe and thereon allege that Defendant Mario Waller

17 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
18 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
19 Nevada.
20            718.   Plaintiffs are informed and believe and thereon allege that Defendant Penise Waller

21 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
22 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
23 Nevada.
24            719.   Plaintiffs are informed and believe and thereon allege that Defendant Alex Walters

25 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
26 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
27 Las Vegas, Nevada.
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 1            720.   Plaintiffs are informed and believe and thereon allege that Defendant Odjessica

 2 Ward is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 3 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            721.   Plaintiffs are informed and believe and thereon allege that Defendant Shawn

 6 Washburn is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            722.   Plaintiffs are informed and believe and thereon allege that Defendant Darnell S.

10 Watts is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
11 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            723.   Plaintiffs are informed and believe and thereon allege that Defendant Randall

14 Webb is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
15 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            724.   Plaintiffs are informed and believe and thereon allege that Defendant Marcus

18 Wellmaker is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            725.   Plaintiffs are informed and believe and thereon allege that Defendant Juan Wesley

22 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
23 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
24 Nevada.
25            726.   Plaintiffs are informed and believe and thereon allege that Defendant Gladys

26 Whitehurst is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            727.   Plaintiffs are informed and believe and thereon allege that Defendant Nicole

 2 Whitlock is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            728.   Plaintiffs are informed and believe and thereon allege that Defendant William

 6 Wieger is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            729.   Plaintiffs are informed and believe and thereon allege that Defendant Annie

10 Wiggins is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            730.   Plaintiffs are informed and believe and thereon allege that Defendant Chisca Wiley

14 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            731.   Plaintiffs are informed and believe and thereon allege that Defendant Craig A.

18 Williams is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
19 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
20 Las Vegas, Nevada.
21            732.   Plaintiffs are informed and believe and thereon allege that Defendant Leon

22 Williams is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            733.   Plaintiffs are informed and believe and thereon allege that Defendant Noah

26 Williams is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            734.   Plaintiffs are informed and believe and thereon allege that Defendant Teri Williams

 2 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
 3 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 4 Las Vegas, Nevada.
 5            735.   Plaintiffs are informed and believe and thereon allege that Defendant Julia

 6 Williams-Long is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            736.   Plaintiffs are informed and believe and thereon allege that Defendant Rina

10 Williamson is a citizen of the State of Nevada. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            737.   Plaintiffs are informed and believe and thereon allege that Defendant L'Tanya

14 Wilson is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened
15 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            738.   Plaintiffs are informed and believe and thereon allege that Defendant Donna

18 Wilson-Demmon is a citizen of the State of Nevada, County of Clark. Defendant has, through
19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
20 shooting incident in Las Vegas, Nevada.
21            739.   Plaintiffs are informed and believe and thereon allege that Defendant Sarah Ann

22 Wittstock is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            740.   Plaintiffs are informed and believe and thereon allege that Defendant Robyn-Lee

26 Wolchyn is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
27 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
28 incident in Las Vegas, Nevada.
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 1            741.   Plaintiffs are informed and believe and thereon allege that Defendant Tammy

 2 Wolfe is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 3 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 4 incident in Las Vegas, Nevada.
 5            742.   Plaintiffs are informed and believe and thereon allege that Defendant Latricia

 6 Woods is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            743.   Plaintiffs are informed and believe and thereon allege that Defendant Nikki Woods

10 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
11 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            744.   Plaintiffs are informed and believe and thereon allege that Defendant Nishon

14 Woods is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
15 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
16 incident in Las Vegas, Nevada.
17            745.   Plaintiffs are informed and believe and thereon allege that Defendant Shay Wright

18 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
19 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            746.   Plaintiffs are informed and believe and thereon allege that Defendant Joshua

22 Wrzesinsk is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
23 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
24 incident in Las Vegas, Nevada.
25            747.   Plaintiffs are informed and believe and thereon allege that Defendant Andre Wyatt

26 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
27 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
28 Nevada.
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 1            748.   Plaintiffs are informed and believe and thereon allege that Defendant Michael Yang

 2 is a citizen of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 3 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            749.   Plaintiffs are informed and believe and thereon allege that Defendant Gerald

 6 Yeager is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
 7 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
 8 incident in Las Vegas, Nevada.
 9            750.   Plaintiffs are informed and believe and thereon allege that Defendant Kenya R.

10 Young is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
11 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
12 incident in Las Vegas, Nevada.
13            751.   Plaintiffs are informed and believe and thereon allege that Defendant Roye Young

14 is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            752.   Plaintiffs are informed and believe and thereon allege that Defendant Vassar D.

18 Young is a citizen of the State of Nevada, County of Clark. Defendant has, through counsel,
19 asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting
20 incident in Las Vegas, Nevada.
21            753.   Plaintiffs are informed and believe and thereon allege that Defendant Jessica

22 Lauren Zetterberg is a citizen of the State of Nevada, County of Clark. Defendant has, through
23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the October 1, 2017,
24 shooting incident in Las Vegas, Nevada
25                                    JURISDICTION AND VENUE

26            754.   This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331 and

27 6 U.S.C. §442(a). As alleged hereinabove, the SAFETY Act expressly provides for original and
28 exclusive federal jurisdiction over actions arising from or relating to acts of mass violence where
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 1 technologies or services certified by the Secretary of Homeland Security were deployed. At the
 2 time of Paddock’s mass attack at the Route 91 concert, security services were provided by
 3 Contemporary Services Corporation as the Security Vendor for the Route 91 Harvest Festival.
 4 CSC’s security services were certified by the Secretary of Homeland Security under the SAFETY
 5 Act.
 6            755.   This Court has personal jurisdiction over Defendants because they are residents of

 7 the State of Nevada and are therefore subject to the general personal jurisdiction of this Court.
 8            756.   Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b)(1)

 9 because one or more of the Defendants are known to reside, or upon information and belief, do
10 reside, within this Judicial District.
11                     FIRST CAUSE OF ACTION FOR DECLATORY RELIEF

12                                  (By Plaintiffs against all Defendants)

13            757.   Plaintiffs reallege and incorporate by reference, as though fully set forth, the

14 allegations of paragraphs 1-270, above.
15            758.   Following Paddock’s mass attack on the concert, over 2,500 individuals have either

16 sued the MGM Parties, or threatened to sue the MGM Parties, for claims alleged to arise from or
17 relate to the attack. Several hundred individuals filed suit, and before the issues could be joined or
18 resolved, they dismissed their claims, apparently with the intent of refiling.
19            759.   Each Defendant either (a) has previously filed suit (and then dismissed it) against

20 one or more of the MGM Parties relating to the Paddock attack, or (b) through counsel has stated
21 an intention to sue the MGM Parties relating to the attack. There is no pending litigation between
22 Plaintiffs and Defendants relating to the attack.
23            760.   The claims alleged in the now-dismissed lawsuits include claims of alleged

24 negligence by the MGM Parties and others, including CSC, in protecting and safeguarding persons
25 including those Defendants who attended the Route 91 Festival.
26            761.   Defendants’ actual and threatened lawsuits implicate the services provided by CSC

27 because they implicate security at the concert, including training, emergency response, evacuation
28 and adequacy of egress.
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 1            762.   These claims are subject to the SAFETY Act, because (a) they arise from and relate

 2 to an act of mass violence meeting the statutory requirements; (b) CSC provided security at the
 3 concert, deploying services certified by the Department of Homeland Security under the SAFETY
 4 Act to protect against or respond to such an attack; and (c) the claims may therefore result in loss
 5 to CSC as the “Seller” of such certified services.
 6            763.   The claims threatened against the MGM Parties by certain Defendants, through

 7 counsel, also inevitably fall under the SAFETY Act for the very same reasons: (a) they arise from
 8 and relate to an act of mass violence meeting the statutory requirements; (b) CSC provided
 9 security at the concert, deploying services certified by the Department of Homeland Security
10 under the SAFETY Act to protect against or respond to such an attack; and (c) the claims may
11 therefore result in loss to CSC as the “Seller” of such certified services. If Defendants were injured
12 by Paddock’s assault, as they allege, they were inevitably injured both because Paddock fired from
13 his window and because they remained in the line of fire at the concert. Such claims inevitably
14 implicate security at the concert—and may result in loss to CSC.
15            764.   The SAFETY Act applies to claims “arising out of, relating to, or resulting from an

16 act of terrorism.”
17            765.   The SAFETY Act defines an act of terrorism: An act meets the requirements if the

18 act is (i) “unlawful” (ii) “causes harm to a person … in the United States,” and (iii) “uses
19 or attempts to use … weapons … designed or intended to cause mass … injury.”
20 6 U.S.C. § 444(2)(B). There is no requirement in the statute or regulations of an ideological
21 motive or objective for the attack for it to meet the requirements of the SAFETY Act.
22            766.   Paddock’s mass attack satisfies the requirements of the SAFETY Act and the

23 regulations: (i) it was “unlawful,” (ii) it resulted in death or injury to hundreds of persons in the
24 United States, and (iii) it involved weapons and other instrumentalities that were designed and
25 intended to cause, and which in fact caused, mass injury and death. Those weapons and
26 instrumentalities included rifles modified with bump stocks to spray fully automatic gun fire;
27 high-capacity magazines capable of holding between 60 and 100 rounds; and illegal incendiary
28 rounds intended to blow up the fuel tanks adjacent to the concert. Paddock used these weapons
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 1 and instrumentalities to fire hundreds of rounds at the crowd, and he fired incendiary rounds
 2 which struck the fuel tanks but, fortunately, missed the fuel.
 3            767.   The post-attack investigation revealed that Paddock brought in his van, which he

 4 parked in the hotel garage, 90 pounds of explosives, consisting of 20 two-pound containers of
 5 exploding targets, 10 one-pound containers of exploding targets and 2 twenty-pound bags of
 6 explosive precursors.
 7            768.   No MGM Party attempted to commit, knowingly participated in, aided, abetted,

 8 committed, or participated in any conspiracy to commit any act of terrorism of criminal act related
 9 to mass attack perpetrated by Stephen Paddock at the Route 91 Harvest Festival in Las Vegas,
10 Nevada, on October 1, 2017.
11            769.   The Secretary of Homeland Security may make a determination that conduct in

12 question meets the statutory requirement, but neither the Act nor the regulations requires a formal
13 certification. The Statute provides that the Secretary shall have exclusive authority to certify
14 services, but the authority to determine whether an act of mass violence meets the statutory
15 requirements is not exclusive to the Secretary.
16            770.   Public statements by the Secretary of Homeland Security concerning the attack

17 make clear that the attack meets the requirements of the SAFETY Act; indeed, based on the plain
18 language of the statute, the regulations, and the facts, no other determination could be possible.
19            771.   In congressional testimony on November 30, 2017, the Acting Secretary of

20 Homeland Security noted the emphasis of “terrorists and other violent criminals … on attacking
21 soft targets,” including “recent tragedies in Nevada.” The Acting Secretary went on to note that
22 the “SAFETY Act Program” “provide[s] critical incentives for the development and deployment
23 of anti-terrorism technologies by providing liability protections for ‘qualified anti-terrorism
24 technologies,’” which applies to a number of large sports and entertainment venues nationwide.
25            772.   In a May 2018 release, Department of Homeland Security noted that “mass

26 shootings” in various places, including at a “concert,” aim “to kill and maim unsuspecting
27 individuals” and thereby fall within the Department’s “primary mission” “to prevent terrorist
28 attacks within the U.S, reduce the vulnerability of the U.S. to terrorism, and minimize the damage
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 1 and assist in the recovery from terrorist attacks that do occur, including those in ST-CPs
 2 [soft-targets-crowded places].” Department of Homeland Security, Soft Targets and Crowded
 3 Places Security Plan Overview, May 2018, at page 2. The report goes on to note that the
 4 protections of the SAFETY Act have been “approved for open venues such as sports arenas and
 5 stadia” – such as the venue for the Route 91 Festival. Id. at p. 17.
 6            773.   The Department continues its critical work to prevent and respond to mass

 7 violence. In Congressional testimony on May 15, 2018, the Secretary testified that DHS is
 8 “seeking to ramp up ‘soft target’ security efforts,” noting that DHS programs “address threats to
 9 soft targets – including schools, entertainment venues, major events, and public spaces” (emphasis
10 added). Further, on June 4, 2018, DHS announced that it had “developed a ST-CP Security
11 Enhancement and Coordination Plan,” which has not been made public. The plan addresses “the
12 increased emphasis by terrorists and other extremist actors to leverage less sophisticated methods
13 to inflict harm in public areas … such as parks, … special event venues, and similar facilities.”
14 See https://www.dhs.gov/publication/securing-soft-targets-and-crowded-spaces (emphasis added).
15            774.   The SAFETY Act creates a single, exclusive federal cause of action for claims for

16 injuries arising out of or relating to acts of mass violence where services certified by the
17 Department of Homeland Security were deployed in defense against, response to, or recovery
18 from such act and such claims result or may result in loss to the Seller.
19            775.    Pursuant to the SAFETY Act, the Department of Homeland Security has certified

20 the services provided by CSC. The DHS Certification recognizes CSC’s security services as
21 appropriate for preventing and responding to acts of mass violence. 6 U.S.C. § 441; see also
22 48 C.F.R. § 50.201.
23            776.   CSC’s security services Certified by DHS include “Physical Security”; “Access

24 Control”; and “Crowd Management.”
25            777.   CSC’s Certified Crowd Management Services include:

26                  “Awareness of venue-specific emergency response protocols and evacuation

27 procedures to include emergency alert and mass-notification systems and sheltering procedures”;
28                  “Pre-event venue / event safety inspections”;

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 1                  “Facilitation of crowd movement during ingress, circulation, sheltering in place,

 2 emergency evacuations, and egress”;
 3                  “Pre-event coordination and multi-agency collaboration with public safety

 4 agencies”;
 5                  “Selection, vetting, and training of employees.”

 6            778.   As alleged above, CSC was employed as the Security Vendor for the Route 91

 7 concert. CSC’s responsibilities at the Route 91 Harvest Festival included providing the following
 8 DHS Certified Services:
 9                  “perimeter security, event access, festival grounds event security”;

10                  “Staff[ing] inner perimeter and gates”;

11                  “Protect[ing] against unauthorized access”;

12                  “early warning … of perimeter breaches”;

13                  “Secur[ing] internal festival grounds”;

14                  “Patrol[ing] festival floor grounds and assist[ing] patrons with any security related

15 issues”;
16                  pre-event planning for “Security and Safety”;

17                  “Emergency response” and “evacuation,” including evacuation for “terrorist threat”

18 and “ensur[ing] that the exit routes and gates remain unobstructed.”
19            779.   For the reasons set forth above, the SAFETY Act creates an exclusive cause of

20 action for any claims arising out of relating to Paddock’s mass attack and such claims may result
21 in loss to the Seller. Under the SAFETY Act, there “shall exist only one cause of action for loss
22 of property, personal injury, or death. 6 C.F.R. 25.7 (d).
23            780.   Such cause of action “may be brought only against the Seller of the Qualified Anti-

24 Terrorism Technology and may not be brought against the buyers, the buyer’s contractors, or
25 downstream users of the Technology, the Seller’s suppliers or contractors, or any other person or
26 entity.” 6 C.F.R. 25.7 (d). The SAFETY Act precludes any liability on the part of Plaintiffs to
27 Defendants relating to Paddock’s mass attack.
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 1            781.     In addition, the SAFETY Act provides that for any covered claims arising out of or

 2 relating to an act of mass violence where certified services were provided, “the government
 3 contractor defense applies in such a lawsuit,” which provides a complete defense to liability.
 4 6 U.S.C. 442(d)(1). The government contractor defense precludes any finding of liability on the
 5 part of Plaintiffs to Defendants relating to Paddock’s mass attack.
 6            782.     An actual and justiciable controversy exists between Plaintiffs and Defendants

 7 concerning the applicability of the SAFETY Act. Plaintiffs assert that the SAFETY Act precludes
 8 any liability for any claims arising out of or relating to Paddock’s mass attack, whereas, on
 9 information and belief, Defendants deny that the Act applies or that it precludes liability on their
10 claims against Plaintiffs.
11            783.     A judicial declaration as to whether the SAFETY Act applies and precludes

12 liability on Defendants’ claims against the Plaintiffs is necessary at this time so that the parties
13 may ascertain their rights, and avoid the significant judicial waste that would occur if the lawsuits
14 were allowed to proceed in the absence of a finding as to the applicability of the SAFETY Act.
15                                           PRAYER FOR RELIEF

16            WHEREFORE, Plaintiffs MGM Parties pray for judgment against Defendants, and each of

17 them, as follows:
18                1.   For a judicial declaration that:

19                     a.      Defendants’ claims arising from the attack by Stephen Paddock on

20                             October 1, 2017 in Las Vegas, Nevada are subject to and governed by the

21                             SAFETY Act, 6 U.S.C. § 441 et seq.;

22                     b.      the SAFETY Act precludes any finding of liability against Plaintiffs for

23                             any claim for injuries arising out of or related to Paddock’s mass attack,

24                             without prejudice to Defendants’ rights to pursue claims against the

25                             “Seller” under the Act, including to obtain proceeds of insurance that any

26                             such Seller was required by the Act to maintain;

27                     c.      Plaintiffs have no liability of any kind to Defendants, or any of them,

28                             arising from the Paddock’s mass attack; and

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 1                2.   For such other and further legal or equitable relief as the Court deems just and proper.

 2 DATED: July 17, 2018                            PISANELLI BICE PLLC

 3
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